      Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 1 of 111




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

JANE DOE 3,                               )
                                          )
       Plaintiff,                         )
V.                                        )          CIVIL ACTION FILE
                                          )          NO. l:19-CV-03843-WMR
RED ROOF INNS, INC., et al.,              )
                                          )
                                          )
       Defendants.                        )


         DEFENDANTS EXTENDED STAY AMERICA, INC._, ESA
       MANAGEMENT, LLC, ESA P PORTFOLIO, LLC, AND ESA P
     PORTFOLIO OPERATING LESSEE, LLC'S NOTICE OF INTENT TO
                 SERVE NON-PARTY SUBPOENAS

       Pursuant to Federal Rule of Civil Procedure 45(a)(4), Defendants, Extended

Stay America, Inc., ESA Management, LLC, ESA P Portfolio, LLC and ESA P

Portfolio Operating Lessee, LLC, by and through counsel, hereby give notice that

if no objection by any party is given within fourteen (14) days of the service of this

notice, they will serve the attached subpoenas to the following non-parties:

       1.     LSU Health Sciences Center a/k/a
              Ochsner LSU Health Shreveport
              Attn: Custodian of Medical Records
              1541 Kings Highway
              Shreveport, LA 71103
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2.    Wellstar Douglas Hospital
      Attn: Release of Information
      8954 Hospital Drive
      Douglasville, GA 30134

3.    Wellstar Atlanta Medical Center
      Attn: Release of Information
      1170 Cleveland Avenue
      East Point, GA 30344

4.    Grady Health System
      Attn: Release of Information
      80 Jesse Hill Jr. Drive SE
      Atlanta, GA 30303

5.    Grady EMS
      Attn: Custodian of Medical Records
      80 Jesse Hill Jr. Drive SE, Box 26042
      Atlanta, GA 30303

6.    Sovereign Women's Healthcare
      Attn: Custodian of Medical Records
      1875 Old Alabama Road, Suite 210
      Roswell, GA 30076

7.    Centered for Life
      Attn: Custodian of Medical Records
      2487 Demere Road, Suite 500
      St. Simons Island, GA 31522

8.    Emerald Isle Counseling
      Attn: Custodian of Medical Records
      501 Gloucester Street, Suite 204
      Brunswick, GA 31520




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9.    Deuser, M.D. & Associates
      Attn: Custodian of Medical Records
      7 Saint Andrews Court
      Brunswick, GA 31520

10.   Ash Tree Center
      Attn: Custodian of Medical Records
      2255 Cumberland Parkway SE
      Atlanta, GA 30339

11.   Coastal Community Health Services
      Attn: Custodian of Medical Records
      106 Shoppers Way, Suite 101
      Brunswick, GA 31525

12.   Southeast Georgia Physicians Associates OB/GYN
      Attn: Custodian of Medical Records
      3025 Shrine Road, Suite 190
      Brunswick, GA 31520

13.   Southeast Georgia Health System
      Attn: Custodian of Medical Records
      2415 Parkwood Drive
      Brunswick, GA 31520




                [SIGNATURE ON NEXT PAGE]

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     This 4" day of October, 2022.

                                         WEINBERG, WHEELER,
                                         HUDGINS, GUNN & DIAL, LLC

                                         Isl Sarah J. Unatin
                                         Patrick B. Moore
                                         GA Bar No. 520390
                                         Christopher T. Byrd
                                         GA Bar No. 100854
3344 Peachtree Road, N.E.                Shubhra R. Mashelkar
Suite 2400                               GA Bar No. 475388
Atlanta, Georgia 30326                   George B. Green
Telephone: (404) 876-2700                GA Bar No. 665716
Facsimile: (404) 875-9433                Sarah J. Unatin
pmoore@wwhgd.com                         GA Bar No. 953061
cbyrd@wwhgd.com
smashelkar@wwhgd.com                     Counsel for Defendants Extended Stay
ggreen@wwhgd.com                         America, Inc., ESA Management, LLC,
sunatin@wwhgd.com                        ESA P Portfolio, LLC, and ESA P
                                         Portfolio Operating Lessee, LLC




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 CERTIFICATE OF COMPLIANCE WITH LOCAL RULES 5.1 AND 7.lD

      Pursuant to Local Rules 5.1 and 7.lD of the United States District Court of

the Northem District of Georgia, the undersigned certifies that the foregoing

submission to the Court was computer-processed, prepared with a top margin of

not less than one and one-half inches and a left margin of not less than one inch,

double-spaced between lines, and used Times New Roman font of 14-point size.

      Dated: October 4, 2022.

                                            Isl Sarah J. Unatin
                                                Sarah J. Unatin




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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been furnished to all
known counsel of record by electronic service via the Court's CM/ECF electronic
filing system, addressed as follows:
John E. Floyd                                Jonathan S. Tonge, Esq.
Manoj S. Varghese                            Patrick J. McDonough
Tiana S. Mykkeltvedt                         Trinity Hundredmark
Amanda Kay Seals                             ANDERSON, TATE & CARR, P.C.
Michael R. Baumrind                          One Sugarloaf Centre
BONDURANT, MIXSON     & ELMORE,    LLP        1960 Satellite Boulevard
1201 W. Peachtree St., N.W.                  Suite 4000
Suite 3900                                   Duluth, GA 30097
Atlanta, GA 30309                            j tonge@atclawfirm.com
floyd@bmelaw.com                             pmcdonough@atclawfirm.com
varghese@bmelaw.com                          thundred@atclawfirm.com
mykketlvedt@bmelaw.com
seals@bmelaw.com                             Counselfor Plaintiff
baumrind@bmelaw.com

Counselfor Plaintiff

Admir Allushi                                Anthony L. Cochran
Emma J. Fennelly                             Emily C. Ward
Charles K. Reed                              SMITH, GAMBRELL & RUSSELL, LLP
Peyton Patterson                             1105 W. Peachtree Street, N.E.
LEWIS BRISBOIS BISGAARD    &                 Suite 1000
SMITH, LLP                                   Atlanta, GA 30309
1600 Peachtree St., N.E.                     acochran@sgrlaw.com
Suite 4700                                   eward@sgrlaw.com
Atlanta, GA 30308
adi.allushi@lewisbrisbois.com                Counselfor Essex
emma.fennelly@lewisbrisbois. com
chuck.reed@lewisbrisbois.com
Peyton.patterson@lewisbrisbois.com
Counselfor Red RoofInns




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Joseph Robb Cruser
Kristin L. Yoder
Glenn C. Tomillo
CRUSER MITCHELL LAW FIRM
275 Scientific Drive, NW
Suite 2000
Peachtree Comers, GA 30092
Rcruser@cmlawfirm.com
kyoder@cmlawfinn.com
gtomillo@cmlawfirm.com

Counselfor Kuzzins Buford

     This 4" day of October, 2022.

                                         WEINBERG, WHEELER,
                                         HUDGINS, GUNN & DIAL, LLC
                                         Isl Sarah J. Unatin
                                         Patrick B. Moore
                                         GA Bar No. 520390
                                         Christopher T. Byrd
                                         GA Bar No. 100854
3344 Peachtree Road, N.E.                Shubhra R. Mashelkar
Suite 2400                               GA Bar No. 475388
Atlanta, Georgia 30326                   George B. Green
Telephone: (404) 876-2700                GA Bar No. 665716
Facsimile: (404) 875-9433                Sarah J. Unatin
pmoore@wwhgd.com                         GA Bar No. 953061
cbyrd@wwhgd.com
smashelkar@wwhgd.com                     Counsel for Defendants Extended Stay
ggreen@wwhgd.com                         America, Inc., ESA Management, LLC,
sunatin@wwhgd.com                        ESA P Portfolio, LLC, and ESA P
                                         Portfolio Operating Lessee, LLC




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                       ATTACHMENT 1
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AO 88B (Rey, 02/14) Subpoena to Produce Documents, Information, Objects or to Permit Inspection ofPremises in a Civil Action
                                         UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION

        JANE DOE 3,

             Plaintiffs,                                                                                CIVIL ACTION FILE NO:
        V.
                                                                                                             1: l 9-CV-03843-WMR

        RED ROOF INNS, INC. et al.

             Defendants.

                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                              OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

       To:      LSU Health Sciences Center
                a/k/a Ochsner LSU Health Shreveport
                Attn: Custodian of Medical Records
                1541 Kings Highway
                Shreveport, LA 71103

         [] Production: YOU ARE COMMA NDED to produce at the time, date, and place set forth below the following documents,
   electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the material:

        See Exhibit "A" attached hereto.


        Place: Michael Baum rind, Esq.                                                                  Date and Time:
               BONDURANT, MIXSON & ELMORE, LLP                                                          October 24, 2022; 9:00 a.m.
                1201 W. Peachtree St., N.W., Suite 3900
                Atlanta, GA 30309

         □ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other property
      possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect, measure, survey,
      photograph, test, or sample the property or any designated object or operation on it.

      IPlace:                                                                                          IDate and Time:


         The following provisions offed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance; Rule 45(d), relating to
      your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond to this subpoena and the
      potential consequences of not doing so.

      Date:      October 4, 2022
                                               CLERK OF COURT
                                                                                                 OR
                                                                                                                 Isl Sarah J Unatin
                                               Signature ofClerk or Deputy Clerk                                   Attorney's signature

      The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) Defendants, Extended Stay
      America, Inc., ESA Management, LLC and HVM, L.L.C., who issues or requests this subpoena, are: Sarah J. Unatin, Esq.,
      Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC, 3344 Peachtree Road, NE, Suite 2400, Atlanta, GA 30326, 404.876.2700,
      sunatin@wwhgd.com.
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                                 Notice to the person who issues or requests this subpoena

     If this subpoena commands the production of documents, electronically stored information, or tangible things or the inspection
of premises before trial, a notice and copy of the subpoena must be served on each party in this case before it is served on the
person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rey, 02/14) Subpoena to Produce Documents, Information, Objects orto Permit Inspection of Premises in a Civil Action (Page 2)

      Civil Action No. 1: l 9-CV-03843-WMR

                                               PROOF OF SERVICE
               (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

      I received this subpoena for                                _
      on                 _
               (date)                                                    (name ofindividual and title, if any)


       [8:1   I served the subpoena by CERTIFIED MAIL, RETURN RECEIPT to the named person as follows: LSU
              Health Sciences Center a/k/ Ochsner LSU Health Shreveport.

              on October 4, 2022; OR


       D      I returned the subpoena unexecuted because:


     Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
     tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount
     of S

     My fees are $ 0.00 for travel and $ 0.00 for services, for a total of $ 0.00.


     I declare under penalty of perjury that this information is true.



     Date: October 4, 2022                                                Isl Sarah I. Unatin
                                                                          Sarah J, Unatin, Attorney for Defendants Extended
                                                                          Stay America, Inc., ESA Management, LLC, ESA P
                                                                          Portfolio, LLC and ESA P Portfolio Operating Lessee,
                                                                          LLC
                                                                          Weinberg Wheeler Hudgins Gunn & Dial, LLP
                                                                          3344 Peachtree Road, Suite 2400
                                                                          Atlanta, Georgia 30326
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AO   88B (Rey,   02/14) Subpoena to Produce Documents, Information,   Objects orto Permit Inspection
Premises in a Civil Action (Page
                             2)




                      Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.                                                           (ii) disclosing an unretained expert's opinion or
                                                                             information that does not describe specific occurrences in
  (1) For a Trial, Hearing, or Deposition. A subpoena may                    dispute and results from the expert's study that was not
command a person to attend a trial, hearing, or deposition only              requested by a party.
as follows:                                                                     (C) Specifying Conditions as an Alternative. In the
   (A) within 100 miles of where the person resides, is                      circumstances described in Rule 45(d)(3)(B), the court
employed, or regularly transacts business in person: or                      may, instead of quashing or modifying a subpoena, order
   (B) within the state where the person resides, is employed, or            appearance or production under specified conditions if the
regularly transacts business in person, if the person                        serving party:
      (i) is a party or a party's officer; or                                      (i) shows a substantial need for the testimony or material
      (ii) is commanded to attend a trial and would not incur                that cannot be otherwise met without undue hardship; and
substantial expense.                                                               (ii) ensures that the subpoenaed person will be reasonably
                                                                                        compensated.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored                        (e) Duties in Responding to a Subpoena.
information, or tangible things at a place within I 00 miles of
where the person resides, is employed, or regularly transacts                  (1) Producing Documents or Electronically Stored
business in person; and                                                      Information. These procedures apply to producing documents
   (B) inspection of premises at the premises to be inspected.               or electronically stored information:
                                                                                (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.                  documents must produce them as they are kept in the ordinary
                                                                             course of business or must organize and label them to correspond
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                to the categories in the demand.
attorney responsible for issuing and serving a subpoena must take               (B) Formfor Producing Electronically Stored Information
reasonable steps to avoid imposing undue burden or expense on a              Nor Specified. If a subpoena does not specify a form for
person subject to the subpoena. The court for the district where             producing electronically stored information, the person
compliance is required must enforce this duty and impose an                  responding must produce it in a form or forms in which it is
appropriate sanction-which may include lost earnings and                     ordinarily maintained or in a reasonably usable form or forms.
reasonable attorney's feeson a party or attorney who fails to                   (C) Electronically Stored Information Produced in Only One
comply.                                                                      Form. The person responding need not produce the same
                                                                             electronically stored information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                        (D) Inaccessible Electronically Stored Information. The
    (A) Appearance Not Required. A person commanded to produce               person responding need not provide discovery of electronically
documents, electronically stored infonnation. or tangible things, or         stored information from sources that the person identifies as not
to permit the inspection of premises, need not appear in person at           reasonably accessible because of undue burden or cost. On
the place of production or inspection unless also commanded to               motion to compel discovery or for a protective order, the person
appear for a deposition, hearing, or trial.                                  responding must show that the information is not reasonably
   (B) Objections. A person commanded to produce documents or                accessible because of undue burden or cost. If that showing is
tangible things or to permit inspection may serve on the party or            made, the court may nonetheless order discovery from such
attorney designated in the subpoena a written objection to                   sources if the requesting party shows good cause, considering
inspecting, copying, testing, or sampling any or all of the materials        the limitations of Rule 26(b)2)C). The court may specify
or to inspecting the premisesor to producing electronically stored           conditions for the discovery.
information in the form or forms requested. The objection must be
served before the earlier of the time specified for compliance or 14        (2) Claiming Privilege or Protection.
days after the subpoena is served. If an objection is made, the               (A) Information Withheld. A person withholding subpoenaed
following rules apply:                                                      information under a claim that it is privileged or subject to
      (i) At any time, on notice to the commanded person, the               protection as trial-preparation material must:
serving party may move the court for the district where                          (i) expressly make the claim; and
compliance is required for an order compelling production or                     (ii) describe the nature of the withheld documents,
inspection.                                                                 communications, or tangible things in a manner that, without
      (ii) These acts may be required only as directed in the order,        revealing information itself privileged or protected, will enable
and the order must protect a person who is neither a party nor a            the parties to assess the claim.
party's officer from significant expense resulting from compliance.           (B) Information Produced. If information produced in
                                                                            response to a subpoena is subject to a claim of privilege
 (3) Quashing or Modifying a Subpoena.                                      or of protection as
   (A) When Required. On timely motion, the court for the                   trial-preparation material, the person making the claim may
district where compliance is required must quash or modify a                notify any party that received the information of the claim and
subpoena that:                                                              the basis for it. After being notified, a party must promptly
      (i) fails to allow a reasonable time to comply;                       return, sequester, or destroy the specified information and any
      (ii) requires a person to comply beyond the                           copies it has; must not use or disclose the information until the
geographical limits specified in Rule 45(c):                                claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected            information if the party disclosed it before being notified; and
matter, if no exception or waiver applies; or                               may promptly present the information under seal to the court for
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     {iv) subjects a person to undue burden.                            the district where compliance is required for a determination of
  (B) When Permitted. To protect a person subject to or affected        the claim. The person who produced the information must
by a subpoena, the court for the district where compliance is           preserve the information until the claim is resolved.
required may, on motion. quash or modify the subpoena if it
requires:                                                              (g) Contempt.
      (i) disclosing a trade secret or other confidential              The court for the district where compliance is required-and
research, development, or commercial information; or                   also, after a motion is transferred, the issuing court-may hold
                                                                       in contempt a person who, having been served, fails without
                                                                       adequate excuse to obey the subpoena or an order related to it.
                                                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a)
                                                                        Committee Note (2013).




                            For access to subpoena materials, see Fed. R. Civ. P. 45{a) Committee Note {2013).
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                                    EXHIBIT A


       NAME:                           JANE DOE 3
       DATE OF BIRTH:
       SOCIAL SECURITY NO.:

                                         l.

      CERTIFIED copies of complete health record to include all notes, reports,

correspondence, office note and/or writing of any kind and/or nature pertaining to or

in any way connected with your professional association with the patient named above

including but not limited to patient history and results of physical exam and

documentation, nurses' notes, progress notes, diagnoses and prognoses rendered by

you or various medical personnel treating and examining JANE DOE 3, for any and

all dates of treatment, to include known dates of service on June 6, 2011 and June

7, 2011.
     Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 15 of 111




                           CERTIFIED DOCUMENTS


These records are to include a CERTIFIED copy ofyour entire file, including but not
limited to any and all documents whether typewritten, printed, recorded or
computerized, inclusive ofphotographs, video or digital records.

You must produce each and every piece ofpaper contained in your files, whether or
not prepared by you (i.e., letters or records sent to you from another source.) This
further includes correspondence, telephone messages, letters from attorneys, as well as
billing and insurance information on file. Leave nothing out for any reason.



                                 HIPAA NOTICE:

In accordance with the provisions of 45 CFR 164.512(e)(l)(ii), this Subpoena has
been issued pursuant to Rules 45(b)(l) and 5(b), Fed. R. Civ. P. The Party issuing this
Subpoena has provided written notice to the Patient listed above by sending her
attorney the attached Subpoena for which said Subpoena has been issued and included
sufficient information about the documents sought to permit the Plaintiff to raise an
objection to the Court or Administrative Tribunal.
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                        ATTACHMENT 2
                       Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 17 of 111
AO 88B (Rey, 02/14) Subpoena to Produce Documents, Information, Objects or to Permit Inspection of Premises in a Civil Action
                                          UNITED STATES DISTRICT COURT
                                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                               ATLANTA DIVISION

        JANE DOE 3,

             Plaintifs
                     f ,                                                                                 CIVIL ACTION FILE NO:
        V.
                                                                                                              1: 19-CV-03843-WMR

        RED ROOF INNS, INC. et al.

             Defendants.

                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                              OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

       To:      Wellstar Douglas Hospital - HIM Department
                Attn: Release of Information
                8954 Hospital Drive
                Douglasville, GA 30134

         [] Production: YOU ARE COMMA NDED to produce at the time, date, and place set forth below the following documents,
   electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the material:

        See Exhibit "A" attached hereto.


        Place: Michael Baumrind, Esq.                                                                    Date and Time:
               BONDURANT, MIXSON & ELMORE, LLP                                                           October 24, 2022; 9:00 a.m.
                1201 W. Peachtree St., N.W., Suite 3900
                Atlanta, GA 30309

         □ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other property
      possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect, measure, survey,
      photograph, test, or sample the property or any designated object or operation on it.

      IPlace:                                                                                           IDate and Time:


         The following provisions offed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance; Rule 45(d), relating to
      your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond to this subpoena and the
      potential consequences of not doing so.

      Date:     October 4, 2022
                                               CLERK OF COURT
                                                                                                  OR
                                                                                                                 Isl Sarah J. Unatin
                                               Signature ofClerk or Deputy Clerk                                   Attorney's signature

      The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) Defendants, Extended Stay
      America, Inc., ESA Management, LLC and HVM, L.L.C., who issues or requests this subpoena, are: Sarah J. Unatin, Esq.,
      Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC, 3344 Peachtree Road, NE, Suite 2400, Atlanta, GA 30326, 404.876.2700,
      sunatin@wwhgd.com.
             Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 18 of 111



                                 Notice to the person who issues or requests this subpoena

     If this subpoena commands the production of documents, electronically stored information, or tangible things or the inspection
of premises before trial, a notice and copy of the subpoena must be served on each party in this case before it is served on the
person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rey, O2/I4) Subpoena to Produce Documents, Information, Objects or to Permit Inspection of Premises in a Civil Action (Page2)

      Civil Action No. l:19-CV-03843-WMR

                                               PROOF OF SERVICE
               (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

       I received this subpoena for                               _
       on                 _
                (date)                                                   (name of individual and title, ifany)


       ~     I served the subpoena by CERTIFIED MAIL, RETURN RECEIPT to the named person as follows:
             Wellstar Douglas Hospital - HIM Department.

             on October 4, 2022; OR


             1 returned the subpoena unexecuted because:


     Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
     tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount
     of$                _

     My fees are$ 0.00 for travel and$ 0.00 for services, for a total of$ 0.00.


     I declare under penalty of perjury that this information is true.



     Date: October 4, 2022                                                Isl Sarah J. Unatin
                                                                          Sarah J, Unatin, Attorney for Defendants Extended
                                                                          Stay America, In., ESA Management, LLC, ESA P
                                                                          Portfolio, LLC and ESA P Portfolio Operating Lessee,
                                                                          LLC
                                                                          Weinberg Wheeler Hudgins Gunn & Dial, LLP
                                                                          3344 Peachtree Road, Suite 2400
                                                                          Atlanta, Georgia 30326
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AO 88B (Rey, 02/14)Subpoena to ProduceDocuments, Information, Objectsorto Permit Inspection
Premises in a Civil Action (Page
                           2)




                   Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.                                                      (ii) disclosing an unretained expert's opinion or
                                                                        information that does not describe specific occurrences in
  (I) For a Trial, Hearing, or Deposition. A subpoena may               dispute and results from the expert's study that was not
command a person to attend a trial, hearing, or deposition only         requested by a party.
as follows:                                                                (C) Specifying Conditions as an Alternative. In the
   (A) within 100 miles of where the person resides, is                 circumstances described in Rule 45(d)(3)(B), the court
employed, or regularly transacts business in person: or                 may, instead of quashing or modifying a subpoena, order
   (B) within the state where the person resides, is employed, or       appearance or production under specified conditions if the
regularly transacts business in person, if the person                   serving party:
      (i) is a party or a party 's officer; or                                (i) shows a substantial need for the testimony or material
      (ii) is commanded to attend a trial and would not incur           that cannot be otherwise met without undue hardship; and
substantial expense.                                                          (ii) ensures that the subpoenaed person will be reasonably
                                                                                   compensated.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored                   (e) Duties in Responding to a Subpoena.
information, or tangible things at a place within I 00 miles of
where the person resides, is employed, or regularly transacts             () Producing Documents or Electronically Stored
business in person; and                                                 Information. These procedures apply to producing documents
   (B) inspection of premises at the premises to be inspected.          or electronically stored information:
                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.             documents must produce them as they are kept in the ordinary
                                                                        course of business or must organize and label them to correspond
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or           to the categories in the demand.
attorney responsible for issuing and serving a subpoena must take          (B) Formfor Producing Electronically Stored Information
reasonable steps to avoid imposing undue burden or expense on a         Nol Specified. 1 fa subpoena does not specify a form for
person subject to the subpoena. The court for the district where        producing electronically stored information. the person
compliance is required must enforce this duty and impose an             responding must produce it in a form or forms in which it is
appropriate sanction-which may include lost earnings and                ordinarily maintained or in a reasonably usable form or forms.
reasonable attorney's feeson a party or attorney who fails to              (C) Electronically Stored Information Produced in Only One
comply.                                                                 Form. The person responding need not produce the same
                                                                        electronically stored information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                    (D) Inaccessible Electronically Stored Information. The
   (A) Appearance Not Required. A person commanded to produce           person responding need not provide discovery of electronically
documents, electronically stored information, or tangible things, or    stored information from sources that the person identifies as not
to permit the inspection of premises, need not appear in person at      reasonably accessible because of undue burden or cost. On
the place of production or inspection unless also commanded to          motion to compel discovery or for a protective order, the person
appear for a deposition, hearing, or trial.                             responding must show that the information is not reasonably
   (B) Objections. A person commanded to produce documents or           accessible because of undue burden or cost. lfthat showing is
tangible things or to permit inspection may serve on the party or       made, the court may nonetheless order discovery from such
attorney designated in the subpoena a written objection to              sources if the requesting party shows good cause, considering
inspecting, copying, testing, or sampling any or all of the materials   the limitations of Rule 26(b)2)C). The court may specify
or to inspecting the premisesor to producing electronically stored      conditions for the discovery.
information in the form or forms requested. The objection must be
served before the earlier of the time specified for compliance or 14    (2) Claiming Privilege or Protection.
days after the subpoena is served. If an objection is made, the           (A) Information Withheld. A person withholding subpoenaed
following rules apply:                                                  information under a claim that it is privileged or subject to
      (i) At any time, on notice to the commanded person, the           protection as trial-preparation material must:
serving party may move the court for the district where                      (i) expressly make the claim; and
compliance is required for an order compelling production or                 (ii) describe the nature of the withheld documents,
inspection.                                                             communications, or tangible things in a manner that, without
      (ii) These acts may be required only as directed in the order,    revealing information itself privileged or protected, will enable
and the order must protect a person who is neither a party nor a        the parties to assess the claim.
party's officer from significant expense resulting from compliance.       (B) Information Produced. If information produced in
                                                                        response to a subpoena is subject to a claim of privilege
 (3) Quashing or Modifying a Subpoena.                                  or of protection as
   (A) When Required. On timely motion, the court for the               trial-preparation material, the person making the claim may
district where compliance is required must quash or modify a            notify any party that received the information of the claim and
subpoena that:                                                          the basis for it. After being notified, a party must promptly
      (i) fails to allow a reasonable time to comply:                   return, sequester, or destroy the specified information and any
      (ii) requires a person to comply beyond the                       copies it has; must not use or disclose the information until the
geographical limits specified in Rule 45(c);                            claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected        information if the party disclosed it before being notified; and
matter, ifno exception or waiver applies; or                            may promptly present the information under seal to the court for
       Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 21 of 111




     (iv) subjects a person to undue burden.                           the district where compliance is required for a determination of
  (B) When Permitted. To protect a person subject to or affected       the claim. The person who produced the information must
by a subpoena, the court for the district where compliance is          preserve the information until the claim is resolved.
required may, on motion, quash or modify the subpoena if it
requires:                                                              {g) Contempt.
      (i) disclosing a trade secret or other confidential              The court for the district where compliance is required-and
research, development, or commercial information; or                   also, after a motion is transferred, the issuing court-may hold
                                                                       in contempt a person who, having been served, fails without
                                                                       adequate excuse to obey the subpoena or an order related to it.
                                                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a)
                                                                        Committee Note (2013).




                            For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                    EXHIBIT A


       NAME:                           JANE DOE 3
       DATE OF BIRTH:
       SOCIAL SECURITY NO.:

                                         1.

      CERTIFIED copies of complete health record to include all notes, reports,

correspondence, office note and/or writing of any kind and/or nature pertaining to or

in any way connected with your professional association with the patient named above

including but not limited to patient history and results of physical exam and

documentation, nurses' notes, progress notes, diagnoses and prognoses rendered by

you or various medical personnel treating and examining JANE DOE 3.
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                           CERTIFIED DOCUMENTS


These records are to include a CERTIFIED copy ofyour entire file, including but not
limited to any and all documents whether typewritten, printed, recorded or
computerized, inclusive ofphotographs, video or digital records.

You must produce each and every piece ofpaper contained in your files, whether or
not prepared by you (i.e., letters or records sent to you from another source.) This
further includes correspondence, telephone messages, letters from attorneys, as well as
billing and insurance information on file. Leave nothing out for any reason.



                                 HIPAA NOTICE:

In accordance with the provisions of 45 CFR 164.512(e)(l)(ii), this Subpoena has
been issued pursuant to Rules 45(b)(l) and 5(b), Fed. R. Civ. P. The Party issuing this
Subpoena has provided written notice to the Patient listed above by sending her
attorney the attached Subpoena for which said Subpoena has been issued and included
sufficient information about the documents sought to permit the Plaintiff to raise an
objection to the Court or Administrative Tribunal.
Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 24 of 111




                        ATTACHMENT 3
                       Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 25 of 111
AO 88B (Rev, 02/14) Subpoena to Produce Documents, Information, Objects or to Permit Inspection of Premises in a Civil Action
                                         UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION

        JANE DOE 3,

             Plaintiffs,                                                                                CIVIL ACTION FILE NO:
        V.
                                                                                                              1:19-CV-03843-WMR

        RED ROOF INNS, INC. et al.

             Defendants.

                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                              OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

       To:      Wellstar Atlanta Medical Center - HIM Department
                Attn: Release of Information
                1170 Cleveland Avenue
                East Point, GA 30344

         [] Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following documents,
   electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the material:

        See Exhibit "A" attached hereto.


        Place: Michael Baumrind, Esq.                                                                    Date and Time:
               BONDURANT, MIXSON & ELMORE, LLP                                                           October 24, 2022; 9:00 a.m.
                1201 W. Peachtree St., N.W., Suite 3900
                Atlanta, GA 30309

         □ Inspection ofPremises: YOU ARE COMMAN DED to permit entry onto the designated premises, land, or other property
      possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect, measure, survey,
      photograph, test, or sample the property or any designated object or operation on it.

      IPlace:                                                                                           IDate and Time:


         The following provisions offed. R. Civ. P. 45 are attached-Rule 45(c), relating to the place of compliance; Rule 45(d), relating to
      your protection as a person subject to a subpcena; and Rule 45(e) and (g), relating to your duty to respond to this subpoena and the
      potential consequences of not doing so.

      Date:     October 4, 2022
                                               CLERK OF COURT
                                                                                                  OR
                                                                                                                  Isl Sarah I. Unatin
                                               Signature ofClerk or Deputy Clerk                                    Attorney's signature

      The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) Defendants, Extended Stay
      America, Inc., ESA Management, LLC and HVM , L.L.C., who issues or requests this subpoena, are: Sarah J. Unatin, Esq.,
      Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC, 3344 Peachtree Road, NE, Suite 2400, Atlanta, GA 30326, 404.876.2700,
      sunatin@wwhgd.com.
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                                 Notice to the person who issues or requests this subpoena

     If this subpoena commands the production of documents, electronically stored information, or tangible things or the inspection
of premises before trial, a notice and copy of the subpoena must be served on each party in this case before it is served on the
person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
       Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 27 of 111




AO 88B (Rey, 02/14) Subpoena to Produce Documents, Information, Objects or to Permit Inspection ofPremises   in a Civil Action (Page 2)

      Civil Action No. 1:19-CV-03843-WMR

                                               PROOF OF SERVICE
               (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

      I received this subpoena for                               _
      ()]].

                (date)                                                 (name of individual and title, ifany)


             1 served the subpoena by CERTIFIED MAIL, RETURN RECEIPT to the named person as follows:
             Wellstar Atlanta Medical Center - HIM Department.

             on October 4, 2022; OR


      D      I returned the subpoena unexecuted because:


     Unless the subpoena was issued on behalf ofthe United States, or one of its officers or agents, I have also
     tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount
     of$

     My fees are$ 0.00 for travel and$ 0.00 for services, for a total of $ 0.00.


     I declare under penalty of perjury that this information is true.



     Date: October 4, 2022                                               Isl Sarah I. Unatin
                                                                         Sarah J, Unatin, Attorney for Defendants Extended
                                                                         Stay America. Inc., ESA Management, LLC, ESA P
                                                                         Portfolio, LLC and ESA P Portfolio Operating Lessee,
                                                                         LLC
                                                                         Weinberg Wheeler Hudgins Gunn & Dial, LLP
                                                                         3344 Peachtree Road, Suite 2400
                                                                         Atlanta, Georgia 30326
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AO 88B(Rey. 02/14)Subpoena to Produce Documents, Information, Objects orto Permit Inspection
Premises in a Civil Action Page
                            3)




                   Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(e) Place of Compliance.                                                      (ii) disclosing an unretained expert's opinion or
                                                                        in formation that does not describe specific occurrences in
  (1) For a Trial, Hearing, or Deposition. A subpoena may               dispute and results from the expert's study that was not
command a person to attend a trial, hearing, or deposition only         requested by a party.
as follows:                                                                 (C) Specifying Conditions as an Alternative. In the
   (A) within 100 miles of where the person resides, is                 circumstances described in Rule 45(d)(3)(B), the court
employed, or regularly transacts business in person; or                 may, instead of quashing or modifying a subpoena, order
   (B) within the state where the person resides, is employed, or       appearance or production under specified conditions if the
regularly transacts business in person, if the person                   serving party:
      (i) is a party or a party 's officer; or                                (i) shows a substantial need for the testimony or material
      (ii) is commanded to attend a trial and would not incur           that cannot be otherwise met without undue hardship; and
substantial expense.                                                          (ii) ensures that the subpoenaed person will be reasonably
                                                                                   compensated.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored                   (e) Duties in Responding to a Subpoena.
information, or tangible things at a place within 100 miles of
where the person resides, is employed, or regularly transacts             (1) Producing Documents or Electronically Stored
business in person;and                                                  Information. These procedures apply to producing documents
   (B) inspection of premises at the premises to be inspected.          or electronically stored information:
                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.             documents must produce them as they are kept in the ordinary
                                                                        course of business or must organize and label them to correspond
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or           to the categories in the demand.
attorney responsible for issuing and serving a subpoena must take          (B) Formfor Producing Electronically Stored Information
reasonable steps to avoid imposing undue burden or expense on a         Not Specified. If a subpoena does not specify a form for
person subject to the subpoena. The court for the district where        producing electronically stored information, the person
compliance is required must enforce this duty and impose an             responding must produce it in a form or forms in which it is
appropriate sanction-which may include lost earnings and                ordinarily maintained or in a reasonably usable form or forms.
reasonable attorney's fees--on a party or attorney who fails to            (C) Electronically Stored Information Produced in Only One
comply.                                                                 Form. The person responding need not produce the same
                                                                        electronically stored information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                   (D) Inaccessible Electronically Stored Information. The
    (A) Appearance Not Required. A person commanded to produce          person responding need not provide discovery of electronically
documents, electronically stored information, or tangible things, or    stored information from sources that the person identifies as not
to permit the inspection of premises, need not appear in person at      reasonably accessible because of undue burden or cost. On
the place of production or inspection unless also commanded to          motion to compel discovery or for a protective order, the person
appear for a deposition, hearing, or trial.                             responding must show that the information is not reasonably
    (B) Objections. A person commanded to produce documents or          accessible because of undue burden or cost. If that showing is
tangible things or to permit inspection may serve on the party or       made, the court may nonetheless order discovery from such
attorney designated in the subpoena a written objection to              sources if the requesting party shows good cause, considering
inspecting, copying, testing, or sampling any or all of the materials   the limitations of Rule 26(b)(2)(C). The court may specify
or to inspecting the premises--or to producing electronically stored    conditions for the discovery.
information in the form or forms requested. The objection must be
served before the earlier of the time specified for compliance or 14    (2) Claiming Privilege or Protection.
days after the subpoena is served. If an objection is made, the           (A) information Withheld. A person withholding subpoenaed
following rules apply:                                                  information under a claim that it is privileged or subject to
      (i) At any time, on notice to the commanded person, the           protection as trial-preparation material must:
serving party may move the court for the district where                      (i) expressly make the claim; and
compliance is required for an order compelling production or                 (ii) describe the nature of the withheld documents,
inspection.                                                             communications, or tangible things in a manner that, without
      (ii) These acts may be required only as directed in the order.    revealing information itself privileged or protected, will enable
and the order must protect a person who is neither a party nor a        the parties to assess the claim.
party's officer from significant expense resulting from compliance.       (B) Information Produced. If information produced in
                                                                        response to a subpoena is subject to a claim of privilege
 (3) Quashing or Modifying a Subpoena.                                  or of protection as
   (A) When Required. On timely motion, the court for the               trial-preparation material, the person making the claim may
district where compliance is required must quash or modify a            notify any party that received the information of the claim and
subpoena that:                                                          the basis for it. After being notified, a party must promptly
      (i) fails to allow a reasonable time to comply;                   return, sequester, or destroy the specified information and any
      (ii) requires a person to comply beyond the                       copies it has; must not use or disclose the information until the
geographical limits specified in Rule 45(c)                             claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected        information if the party disclosed it before being notified; and
matter, if no exception or waiver applies; or                           may promptly present the information under seal to the court for
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     (iv) subjects a person to undue burden.                            the district where compliance is required for a determination of
  (B) When Permitted. To protect a person subject to or affected        the claim. The person who produced the information must
by a subpoena, the court for the district where compliance is           preserve the information until the claim is resolved.
required may. on motion, quash or modify the subpoena if it
requires:                                                               (g) Contempt.
      (i) disclosing a trade secret or other confidential               The court for the district where compliance is required-and
research. development, or commercial information; or                    also, after a motion is transferred, the issuing court-may hold
                                                                        in contempt a person who, having been served, fails without
                                                                        adequate excuse to obey the subpoena or an order related to it.
                                                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a)
                                                                         Committee Note (2013).




                             For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                    EXHIBIT A


       NAME:                           JANEDOE3
       DATE OF BIRTH:
       SOCIAL SECURITY NO.:

                                         1.

      CERTIFIED copies of complete health record to include all notes, reports,

correspondence, office note and/or writing of any kind and/or nature pertaining to or

in any way connected with your professional association with the patient named above

including but not limited to patient history and results of physical exam and

documentation, nurses' notes, progress notes, diagnoses and prognoses rendered by

you or various medical personnel treating and examining JANE DOE 3.
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                           CERTIFIED DOCUMENTS


These records are to include a CERTIFIED copy ofyour entire file, including but not
limited to any and all documents whether typewritten, printed, recorded or
computerized, inclusive ofphotographs, video or digital records.

You must produce each and every piece ofpaper contained in your files, whether or
not prepared by you (i.e., letters or records sent to you from another source.) This
further includes correspondence, telephone messages, letters from attorneys, as well as
billing and insurance information on file. Leave nothing out for any reason.



                                 HIPAA NOTICE:

In accordance with the provisions of 45 CFR 164.512(e)(l)(ii), this Subpoena has
been issued pursuant to Rules 45(b)(l) and 5(b), Fed. R. Civ. P. The Party issuing this
Subpoena has provided written notice to the Patient listed above by sending her
attorney the attached Subpoena for which said Subpoena has been issued and included
sufficient information about the documents sought to permit the Plaintiff to raise an
objection to the Court or Administrative Tribunal.
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                       ATTACHMENT 4
                       Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 33 of 111
AO 88B (Rey, 02/I4) Subpoena to Produce Documents, Information, Objects or to Permit Inspection ofPremises in a Civil Action
                                         UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION

        JANE DOE 3,

             Plaintiffs,                                                                                CIVIL ACTION FILE NO:
        V.
                                                                                                             1: 19-CV-03843-WMR

        RED ROOF INNS, INC. et al.

             Defendants.

                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                              OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

       To:      Grady Health System -- HIM Department
                Attn: Release of Information
                80 Jesse Hill Jr. Drive SE
                Atlanta, GA 30303

         lfil Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following documents,
   electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the material:

        See Exhibit "A" attached hereto.


        Place: Michael Baumrind, Esq.                                                                   Date and Time:
               BONDURANT, MIXSON & ELMORE, LLP                                                          October 24, 2022; 9:00 a.m.
               1201 W. Peachtree St., N.W., Suite 3900
               Atlanta, GA 30309

         □ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other property
      possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect, measure, survey,
      photograph, test, or sample the property or any designated object or operation on it.


      'Place:                                                                                          joate and Time:


         The following provisions offed. R. Civ. P. 45 are attached-Rule 45(c), relating to the place of compliance; Rule 45(d), relating to
      your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond to this subpoena and the
      potential consequences of not doing so.

      Date:      October 4, 2022
                                               CLERK OF COURT
                                                                                                  OR
                                                                                                                 Isl Sarah J. Unatin
                                               Signature ofClerk or Deputy Clerk                                   Attorney's signature

      The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) Defendants, Extended Stay
      America, Inc., ESA Management, LLC and HVM, L.L.C., who issues or requests this subpoena, are: Sarah J. Unatin, Esq.,
      Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC, 3344 Peachtree Road, NE, Suite 2400, Atlanta, GA 30326, 404.876.2700,
      sunatin@wwhgd.com.
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                                 Notice to the person who issues or requests this subpoena

     If this subpoena commands the production of documents, electronically stored information, or tangible things or the inspection
of premises before trial, a notice and copy of the subpoena must be served on each party in this case before it is served on the
person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev, 02/14) Subpoena to Produce Documents, Information, Objects orto Permit Inspection ofPremises in a Civil Action (Page2)

      Civil Action No. 1:19-CV-03843-WMR

                                                PROOF OF SERVICE
               (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

      I received this subpoena for                               _
      on -------
               (date)                                                   (name of individual and title, ifany)


       i8l   I served the subpoena by CERTIFIED MAIL, RETURN RECEIPT to the named person as follows:
             Grady Health System - HIM Department.

             on October 4, 2022; OR


      D      I returned the subpoena unexecuted because:


     Unless the subpoena was issued on behalf ofthe United States, or one of its officers or agents, I have also
     tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount
     of

     My fees are$ 0.00 for travel and$ 0.00 for services, for a total of $ 0.00.


     I declare under penalty of perjury that this information is true.



    Date: October 4, 2022                                                Isl Sarah I. Unatin
                                                                         Sarah J, Unatin, Attorney for Defendants Extended
                                                                         Stay America, Inc., ESA Management, LLC, ESA P
                                                                         Portfolio, LLC and ESA P Portfolio Operating Lessee,
                                                                         LLC
                                                                         Weinberg Wheeler Hudgins Gunn & Dial, LLP
                                                                         3344 Peachtree Road, Suite 2400
                                                                         Atlanta, Georgia 30326
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AO 88B (Rey, 02/14)Subpoena to Produce Documents, Information, Objectsor to Permit Inspection
Premises in a Civil Action (Page
                             2)




                   Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(e) Place of Compliance.                                                      (ii) disclosing an unretained expert's opinion or
                                                                        information that does not describe specific occurrences in
  (I) For a Trial, Hearing, or Deposition. A subpoena may               dispute and results from the expert's study that was not
command a person to attend a trial, hearing, or deposition only         requested by a party.
as follows:                                                                (C) Specifying Conditions as an Alternative. In the
   (A) within 100 miles of where the person resides, is                 circumstances described in Rule 45(d)(3)(B), the court
employed, or regularly transacts business in person; or                 may, instead of quashing or modifying a subpoena, order
   (B) within the state where the person resides, is employed, or       appearance or production under specified conditions if the
regularly transacts business in person, if the person                   serving party:
      (i) is a party or a party's officer; or                                 (i) shows a substantial need for the testimony or material
      (ii) is commanded to attend a trial and would not incur           that cannot be otherwise met without undue hardship; and
substantial expense.                                                          (ii) ensures that the subpoenaed person will be reasonably
                                                                                   compensated.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored                   (e) Duties in Responding to a Subpoena.
information, or tangible things at a place within I 00 miles of
where the person resides, is employed, or regularly transacts             () Producing Documents or Electronically Stored
business in person;and                                                  Information. These procedures apply to producing documents
   (B) inspection of premises at the premises to be inspected.          or electronically stored information:
                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.             documents must produce them as they are kept in the ordinary
                                                                        course of business or must organize and label them to correspond
  (I) Avoiding Undue Burden or Expense; Sanctions. A party or           to the categories in the demand.
attorney responsible for issuing and serving a subpoena must take          (B) Formfor Producing Electronically Stored Information
reasonable steps to avoid imposing undue burden or expense on a         Not Specified. If a subpoena does not specify a form for
person subject to the subpoena. The court for the district where        producing electronically stored information, the person
compliance is required must enforce this duty and impose an             responding must produce it in a form or forms in which it is
appropriate sanction-which may include lost earnings and                ordinarily maintained or in a reasonably usable form or forms.
reasonable attorney's feeson a party or attorney who fails to              (C) Electronically Stored Information Produced in Only One
comply.                                                                 Form. The person responding need not produce the same
                                                                        electronically stored information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                   (D) Inaccessible Electronically Stored Information. The
    (A) Appearance Not Required. A person commanded to produce          person responding need not provide discovery of electronically
documents, electronically stored information, or tangible things, or    stored in formation from sources that the person identifies as not
to permit the inspection of premises. need not appear in person at      reasonably accessible because of undue burden or cost. On
the place of production or inspection unless also commanded to          motion to compel discovery or for a protective order, the person
appear for a deposition, hearing, or trial.                             responding must show that the information is not reasonably
    (B) Objections. A person commanded to produce documents or          accessible because of undue burden or cost. If that showing is
tangible things or to permit inspection may serve on the party or       made, the court may nonetheless order discovery from such
attorney designated in the subpoena a written objection to              sources if the requesting party shows good cause, considering
inspecting, copying. testing, or sampling any or all of the materials   the limitations ofRule 26(b)(2)(C). The court may specify
or to inspecting the premisesor to producing electronically stored      conditions for the discovery.
in formation in the form or forms requested. The objection must be
served before the earlier of the time specified for compliance or 14    (2) Claiming Privilege or Protection.
days after the subpoena is served. If an objection is made, the           (A) Information Withheld. A person withholding subpoenaed
following rules apply:                                                  information under a claim that it is privileged or subject to
      (i) At any time, on notice to the commanded person, the           protection as trial-preparation material must:
serving party may move the court for the district where                      (i) expressly make the claim; and
compliance is required for an order compelling production or                 (ii) describe the nature of the withheld documents,
inspection.                                                             communications, or tangible things in a manner that, without
      (ii) These acts may be required only as directed in the order,    revealing information itself privileged or protected, will enable
and the order must protect a person who is neither a party nor a        the parties to assess the claim.
party's officer from significant expense resulting from compliance.       (B) Information Produced. If information produced in
                                                                        response to a subpoena is subject to a claim of privilege
 (3) Quashing or Modifying a Subpoena.                                  or of protection as
   (A) When Required. On timely motion, the court for the               trial-preparation material, the person making the claim may
district where compliance is required must quash or modify a            notify any party that received the information of the claim and
subpoena that:                                                          the basis for it. After being notified, a party must promptly
      (i) fails to allow a reasonable time to comply;                   return, sequester, or destroy the specified information and any
      (ii) requires a person to comply beyond the                       copies it has; must not use or disclose the information until the
geographical limits specified in Rule 45(c):                            claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected        information if the party disclosed it before being notified; and
matter, ifno exception or waiver applies; or                            may promptly present the information under seal to the court for
       Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 37 of 111



     (iv) subjects a person to undue burden.                             the district where compliance is required for a determination of
  (B) When Permitted. To protect a person subject to or affected         the claim. The person who produced the information must
by a subpoena, the court for the district where comp I iance is          preserve the information until the claim is resolved.
required may, on motion, quash or modify the subpoena if it
requires:                                                               (g) Contempt.
      (i) disclosing a trade secret or other confidential               The court for the district where compliance is required-and
research, development, or commercial information; or                    also, after a motion is transferred, the issuing court-may hold
                                                                        in contempt a person who, having been served, fails without
                                                                        adequate excuse to obey the subpoena or an order related to it.
                                                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a)
                                                                         Committee Note (2013).




                            For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (20 I 3).
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                                    EXHIBIT A


       NAME:                           JANE DOE 3
       DATE OF BIRTH:
       SOCIAL SECURITY NO.:

                                         1.

      CERTIFIED copies of complete health record to include all notes, reports,

correspondence, office note and/or writing of any kind and/or nature pertaining to or

in any way connected with your professional association with the patient named above

including but not limited to patient history and results of physical exam and

documentation, nurses' notes, progress notes, diagnoses and prognoses rendered by

you or various medical personnel treating and examining JANE DOE 3.
     Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 39 of 111




                           CERTIFIED DOCUMENTS


These records are to include a CERTIFIED copy ofyour entire file, including but not
limited to any and all documents whether typewritten, printed, recorded or
computerized, inclusive ofphotographs, video or digital records.

You must produce each and every piece of paper contained in your files, whether or
not prepared by you (i.e., letters or records sent to you from another source.) This
further includes correspondence, telephone messages, letters from attorneys, as well as
billing and insurance information on file. Leave nothing out for any reason.



                                 HIPAA NOTICE:

In accordance with the provisions of 45 CFR 164.512(e)(l)(ii), this Subpoena has
been issued pursuant to Rules 45(b)(l) and 5(b), Fed. R. Civ. P. The Party issuing this
Subpoena has provided written notice to the Patient listed above by sending her
attorney the attached Subpoena for which said Subpoena has been issued and included
sufficient information about the documents sought to permit the Plaintiff to raise an
objection to the Court or Administrative Tribunal.
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                        ATTACHMENT 5
                       Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 41 of 111
AO 88B (Rey, O2/14)Subpoena to Produce Documents, Information, Objects orto Permit Inspection ofPremises in a Civil Action
                                         UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION

        JANE DOE 3,
             Plaintiffs,                                                                              CIVIL ACTION FILE NO:
        V.
                                                                                                           1: 19-CV-03843-WMR

        RED ROOF INNS, INC. et al.

             Defendants.

                                  SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                             OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

       To:      Grady EMS
                Attn: Custodian of Medical Records
                80 Jesse Hill Jr. Drive SE, Box 26042
                Atlanta, GA 30303

         [RI Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following documents,
   electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the material:

        See Exhibit "A" attached hereto.


       Place: Michael Baumrind, Esq.                                                                  Date and Time:
              BONDURANT, MIXSON & ELMORE, LLP                                                         October 24, 2022; 9:00 a.m.
                1201 W. Peachtree St., N.W., Suite 3900
                Atlanta, GA 30309

         □ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other property
      possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect, measure, survey,
      photograph, test, or sample the property or any designated object or operation on it.


     IPlace:                                                                                         IDate and Time:


         The following provisions offed. R. Civ. P. 45 are attached-Rule 45(c), relating to the place of compliance; Rule 45(d), relating to
      your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond to this subpoena and the
      potential consequences of not doing so.

      Date:      October 4, 2022
                                              CLERK OF COURT
                                                                                                OR
                                                                                                               Isl Sarah J Unatin
                                              Signature ofClerk or Deputy Clerk                                  Attorney's signature

      The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) Defendants, Extended Stay
      America, Inc., ESA Management, LLC and HVM, L.L.C., who issues or requests this subpoena, are: Sarah J. Unatin, Esq.,
      Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC, 3344 Peachtree Road, NE, Suite 2400, Atlanta, GA 30326, 404.876.2700,
      sunatin@wwhgd.com.
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                                 Notice to the person who issues or requests this subpoena

     If this subpoena commands the production of documents, electronically stored information, or tangible things or the inspection
of premises before trial, a notice and copy of the subpoena must be served on each party in this case before it is served on the
person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev, 02/14) Subpoena to Produce Documents, Information, Objects or to Permit Inspection of Premises   in a Civil   Action (Page 2)


      Civil Action No. 1:19-CV-03843-WMR

                                               PROOF OF SERVICE
               (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

      I received this subpoena for                                _
      on ------
               (date)                                                   (name of individual and title, ifany)


             1 served the subpoena by CERTIFIED MAIL, RETURN RECEIPT to the named person as follows:
             Grady EMS - Custodian of Medical Records.

             on October 4, 2022; OR


       D     I returned the subpoena unexecuted because:


     Unless the subpoena was issued on behalf ofthe United States, or one of its officers or agents, I have also
     tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount
     ofS

     My fees are$ 0.00 for travel and $ 0.00 for services, for a total of $ 0.00.


     I declare under penalty of perjury that this information is true.



     Date: October 4, 2022                                               Isl Sarah J. Unatin
                                                                         Sarah J, Unatin, Attorney for Defendants Extended
                                                                         Stay America, Inc., ESA Management, LLC, ESA P
                                                                         Portfolio, LLC and ESA P Portfolio Operating Lessee,
                                                                         LLC
                                                                         Weinberg Wheeler Hudgins Gunn & Dial, LLP
                                                                         3344 Peachtree Road, Suite 2400
                                                                         Atlanta, Georgia 30326
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AO 88B (Rey, 02/14)Subpoena to Produce Documents, Information, Objectsorto Permit Inspection
Premises in a Civil Action (Page
                              3)




                   Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.                                                      (ii) disclosing an unretained expert's opinion or
                                                                        information that does not describe specific occurrences in
  (1) For a Trial, Hearing, or Deposition. A subpoena may               dispute and results from the expert's study that was not
command a person to attend a trial, hearing, or deposition only         requested by a party.
as follows:                                                                (C) Specif.ving Conditions as an Alternative. In the
   (A) within 100 miles of where the person resides, is                 circumstances described in Rule 45(d3)B), the court
employed, or regularly transacts business in person: or                 may, instead of quashing or modifying a subpoena, order
   (B) within the stale where the person resides, is employed, or       appearance or production under specified conditions if the
regularly transacts business in person, if the person                   serving party:
      (i) is a party or a party 's officer; or                                (i) shows a substantial need for the testimony or material
      (ii) is commanded to attend a trial and would not incur           that cannot be otherwise met without undue hardship; and
substantial expense.                                                          (ii) ensures that the subpoenaed person will be reasonably
                                                                                   compensated.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored                   (e) Duties in Responding to a Subpoena.
information, or tangible things at a place within 100 miles of
where the person resides, is employed, or regularly transacts             (1) Producing Documents or Electronically Stored
business in person;and                                                  Information. These procedures apply to producing documents
   (B) inspection of premises at the premises to be inspected.          or electronically stored information:
                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.             documents must produce them as they are kept in the ordinary
                                                                        course of business or must organize and label them to correspond
  (1)Avoiding Undue Burden or Expense; Sanctions. A party or            to the categories in the demand.
attorney responsible for issuing and serving a subpoena must take          (B) Formfor Producing Electronically Stored Information
reasonable steps to avoid imposing undue burden or expense on a         Not Specified. If a subpoena does not specify a form for
person subject to the subpoena. The court for the district where        producing electronically stored information, the person
compliance is required must enforce this duty and impose an             responding must produce it in a form or forms in which it is
appropriate sanction-which may include lost earnings and                ordinarily maintained or in a reasonably usable form or forms.
reasonable attorney's fees-on a party or attorney who fails to             (C) Electronically Stored Information Produced in Only One
comply.                                                                 Form. The person responding need not produce the same
                                                                        electronically stored information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                   (D) Inaccessible Electronically Stored Information. The
    (A) Appearance Not Required. A person commanded to produce          person responding need not provide discovery of electronically
documents, electronically stored information, or tangible things, or    stored information from sources that the person identifies as not
to permit the inspection of premises, need not appear in person at      reasonably accessible because of undue burden or cost. On
the place of production or inspection unless also commanded to          motion to compel discovery or for a protective order, the person
appear for a deposition, hearing, or trial.                             responding must show that the information is not reasonably
    (B) Objections. A person commanded to produce documents or          accessible because of undue burden or cost. If that showing is
tangible things or lo permit inspection may serve on the party or       made, the court may nonetheless order discovery from such
attorney designated in the subpoena a written objection to              sources if the requesting party shows good cause, considering
inspecting. copying. testing, or sampling any or all of the materials   the limitations of Rule 26(b)(2)(C). The court may specify
or to inspecting the premises-or to producing electronically stored     conditions for the discovery.
information in the form or forms requested. The objection must be
served before the earlier of the time specified for compliance or 14    (2) Claiming Privilege or Protection.
days after the subpoena is served. I fan objection is made, the           (A) Information Withheld. A person withholding subpoenaed
following rules apply:                                                  information under a claim that it is privileged or subject to
      (i) At any time, on notice to the commanded person, the           protection as trial-preparation material must:
serving party may move the court for the district where                      (i) expressly make the claim; and
compliance is required for an order compelling production or                 (ii) describe the nature of the withheld documents,
inspection.                                                             communications, or tangible things in a manner that, without
      (ii) These acts may be required only as directed in the order,    revealing information itself privileged or protected, will enable
and the order must protect a person who is neither a party nor a        the parties to assess the claim.
party's officer from significant expense resulting from compliance.       (B) Information Produced. If information produced in
                                                                        response to a subpoena is subject to a claim of privilege
 (3) Quashing or Modifying a Subpoena.                                  or of protection as
   (A) When Required. On timely motion, the court for the               trial-preparation material, the person making the claim may
district where compliance is required must quash or modify a            notify any party that received the information of the claim and
subpoena that:                                                          the basis for it. After being notified, a party must promptly
      (i) fails to allow a reasonable time to comply;                   return, sequester, or destroy the specified information and any
      (ii) requires a person to comply beyond the                       copies it has; must not use or disclose the information until the
geographical limits specified in Rule 45(c);                            claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected        information if the party disclosed it before being notified; and
matter, if no exception or waiver applies; or                           may promptly present the information under seal to the court for
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     (iv) subjects a person to undue burden.                           the district where compliance is required for a determination of
  (B) When Permitted. To protect a person subject to or affected       the claim. The person who produced the information must
by a subpoena, the court for the district where compliance is          preserve the information until the claim is resolved.
required may, on motion, quash or modify the subpoena if it
requires:                                                              (g) Contempt.
      (i) disclosing a trade secret or other confidential              The court for the district where compliance is required-and
research, development, or commercial information; or                   also, after a motion is transferred, the issuing court-may hold
                                                                       in contempt a person who, having been served, fails without
                                                                       adequate excuse to obey the subpoena or an order related to it.
                                                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a)
                                                                        Committee Note (2013).




                            For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                      EXHIBIT A


       NAME:                             JANE DOE 3
       DATE OF BIRTH:
       SOCIAL SECURITY NO.:

                                           1.

       CERTIFIED copies of each and every record, report, correspondence, note

and/or writing of any kind and/or nature pertaining to or in any way connected with

your professional association with the patient named above including but not limited

to the complete trip sheets, EMS patient care reports, patient questionnaires, results of

physical examinations, monitoring of vital signs and results of diagnoses and

prognoses rendered by you or any other medical personnel treating and examining

JANE DOE 3.
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                            CERTIFIED DOCUMENTS


These records are to include a CERTIFIED copy ofyour entire file, including but not
limited to any and all documents whether typewritten, printed, recorded or
computerized, inclusive ofphotographs, video or digital records.

You must produce each and every piece of paper contained in your files, whether or
not prepared by you (i.e., letters or records sent to you from another source.) This
further includes correspondence, telephone messages, letters from attorneys, as well as
billing and insurance information on file. Leave nothing out for any reason.



                                 HIPAA NOTICE:

In accordance with the provisions of 45 CFR 164.512(e)(l)(ii), this Subpoena has
been issued pursuant to Rules 45(b )(1) and 5(b), Fed. R. Civ. P. The Party issuing this
Subpoena has provided written notice to the Patient listed above by sending her
attorney the attached Subpoena for which said Subpoena has been issued and included
sufficient information about the documents sought to permit the Plaintiff to raise an
objection to the Court or Administrative Tribunal.
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                        ATTACHMENT 6
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AO 88B (Rev, 02/14) Subpoena to Produce Documents, Information, Objects or to Permit Inspection of Premises in a Civil Action
                                         UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION

        JANE DOE 3,
             Plaintiffs,                                                                                 CIVIL ACTION FILE NO:
        V.
                                                                                                              1:19-CV-03843-WMR

        RED ROOF INNS, INC. et al.

             Defendants.

                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                              OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

       To:      Sovereign Women's Healthcare
                Attn: Custodian of Medical Records
                1875 Old Alabama Road, Suite 210
                Roswell, GA 30076

         [RI Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following documents,
   electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the material:

        See Exhibit "A" attached hereto.


        Place: Michael Baumrind, Esq.                                                                    Date and Time:
               BONDURANT, MIXSON & ELMORE, LLP                                                           October 24, 2022; 9:00 a.m.
               1201 W. Peachtree St., N.W., Suite 3900
               Atlanta, GA 30309

         □ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other property
      possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect, measure, survey,
      photograph, test, or sample the property or any designated object or operation on it.


      IPlace:                                                                                           IDate and Time:


         The following provisions offed. R. Civ. P. 45 are attached-Rule 45(c), relating to the place of compliance; Rule 45(d), relating to
      your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond to this subpoena and the
      potential consequences of not doing so.

      Date:      October 4, 2022
                                               CLERK OF COURT
                                                                                                  OR
                                                                                                                  Isl Sarah I. Unatin
                                               Signature ofClerk or Deputy Clerk                                    Attorney's signature

      The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) Defendants, Extended Stay
      America, Inc., ESA Management, LLC and HVM, L.L.C., who issues or requests this subpoena, are: Sarah J. Unatin, Esq.,
      Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC, 3344 Peachtree Road, NE, Suite 2400, Atlanta, GA 30326, 404.876.2700,
      sunatin@wwhgd.com.
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                                 Notice to the person who issues or requests this subpoena

     If this subpoena commands the production of documents, electronically stored information, or tangible things or the inspection
of premises before trial, a notice and copy of the subpoena must be served on each party in this case before it is served on the
person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev, 02/14) Subpoena to Produce Documents, Information, Objects or to Permit Inspection of Premises in a Civil Action (Page 2)


      Civil Action No. l:19-CV-03843-WMR

                                               PROOF OF SERVICE
               (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

      I received this subpoena for                                 _
      on ------
               (date)                                                    (name of individual and title, ifany)


             1 served the subpoena by CERTIFIED MAIL, RETURN RECEIPT to the named person as follows:
             Sovereign Women's Healthcare - Attn: Custodian of Medical Records

             on October 4, 2022; OR


      D      I returned the subpoena unexecuted because:


     Unless the subpoena was issued on behalf ofthe United States, or one of its officers or agents, I have also
     tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount
     of$-------

     My fees are $ 0.00 for travel and $ 0.00 for services, for a total of $ 0.00.


     I declare under penalty of perjury that this information is true.



     Date: October 4, 2022                                                 Isl Sarah J. Unatin
                                                                           Sarah J, Unatin, Attorney for Defendants Extended
                                                                           Stay America, Inc., ESA Management, LLC, ESA P
                                                                           Portfolio, LLC and ESA P Portfolio Operating Lessee,
                                                                           LLC
                                                                           Weinberg Wheeler Hudgins Gunn & Dial, LLP
                                                                           3344 Peachtree Road, Suite 2400
                                                                           Atlanta, Georgia 30326
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AO 88B (Rey. 02/14)Subpoena to Produce Documents, Information, Objectsorto Permit Inspection
Premises in a Civil Action (Page
                              )




                   Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.                                                      (ii) disclosing an unretained expert's opinion or
                                                                        information that does not describe specific occurrences in
  (1) For a Trial, Hearing, or Deposition. A subpoena may               dispute and results from the expert's study that was not
command a person to attend a trial, hearing, or deposition only         requested by a party.
as follows:                                                                (C) Specifying Conditions as an Alternative. In the
   (A) within 100 miles of where the person resides, is                 circumstances described in Rule 45(d)(3)(B), the court
employed, or regularly transacts business in person: or                 may, instead of quashing or modifying a subpoena, order
   (B) within the state where the person resides, is employed, or       appearance or production under specified conditions if the
regularly transacts business in person, if the person                   serving party:
      (i) is a party or a party 's officer; or                                (i) shows a substantial need for the testimony or material
      (ii) is commanded to attend a trial and would not incur           that cannot be otherwise met without undue hardship; and
substantial expense.                                                          (ii) ensures that the subpoenaed person will be reasonably
                                                                                   compensated.
  (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored                  (e) Duties in Responding to a Subpoena.
information, or tangible things at a place within 100 miles of
where the person resides, is employed, or regularly transacts             (1) Producing Documents or Electronically Stored
business in person; and                                                 Information. These procedures apply to producing documents
   (8) inspection of premises at the premises to be inspected.          or electronically stored information:
                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.             documents must produce them as they are kept in the ordinary
                                                                        course of business or must organize and label them to correspond
  (1)Avoiding Undue Burden or Expense; Sanctions. A party or            to the categories in the demand.
attorney responsible for issuing and serving a subpoena must take          (B) Formfor Producing Electronically Stored Information
reasonable steps to avoid imposing undue burden or expense on a         Not Specified. If a subpoena does not specify a form for
person subject to the subpoena. The court for the district where        producing electronically stored information, the person
compliance is required must enforce this duty and impose an             responding must produce it in a form or forms in which it is
appropriate sanction-which may include lost earnings and                ordinarily maintained or in a reasonably usable form or forms.
reasonable attorney's feeson a party or attorney who fails to              (C) Electronically Stored Information Produced in Only One
comply.                                                                 Form. The person responding need not produce the same
                                                                        electronically stored information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                   (D) Inaccessible Electronically Stored Information. The
    (A) Appearance Not Required. A person commanded to produce          person responding need not provide discovery of electronically
documents, electronically stored information, or tangible things, or    stored information from sources that the person identifies as not
to permit the inspection of premises, need not appear in person at      reasonably accessible because of undue burden or cost. On
the place of production or inspection unless also commanded to          motion to compel discovery or for a protective order, the person
appear for a deposition, hearing, or trial.                             responding must show that the information is not reasonably
    (B) Objections. A person commanded to produce documents or          accessible because of undue burden or cost. If that showing is
tangible things or to permit inspection may serve on the party or       made, the court may nonetheless order discovery from such
attorney designated in the subpoena a written objection to              sources if the requesting party shows good cause, considering
inspecting, copying, testing, or sampling any or all of the materials   the limitations ofRule 26(b)(2)(C). The court may specify
or to inspecting the premisesor to producing electronically stored      conditions for the discovery.
information in the form or forms requested. The objection must be
served before the earlier of the time specified for compliance or 14    (2) Claiming Privilege or Protection.
days after the subpoena is served. If an objection is made, the           (A) Information Withheld. A person withholding subpoenaed
following rules apply:                                                  information under a claim that it is privileged or subject to
      (i) At any time, on notice to the commanded person, the           protection as trial-preparation material must:
serving party may move the court for the district where                      (i) expressly make the claim; and
compliance is required for an order compelling production or                 (ii) describe the nature of the withheld documents,
inspection.                                                             communications, or tangible things in a manner that, without
      (ii) These acts may be required only as directed in the order,    revealing information itself privileged or protected, will enable
and the order must protect a person who is neither a party nor a        the parties to assess the claim.
party's officer from significant expense resulting from compliance.       (B) Information Produced. If information produced in
                                                                        response to a subpoena is subject to a claim of privilege
 (3) Quashing or Modifying a Subpoena.                                  or of protection as
   (A) When Required. On timely motion, the court for the               trial-preparation material, the person making the claim may
district where compliance is required must quash or modify a            notify any party that received the information of the claim and
subpoena that:                                                          the basis for it. After being notified, a party must promptly
      (i) fails to allow a reasonable time to comply:                   return, sequester, or destroy the specified information and any
      (ii) requires a person to comply beyond the                       copies it has; must not use or disclose the information until the
geographical limits specified in Rule 45(c):                            claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected        information if the party disclosed it before being notified; and
matter, if no exception or waiver applies; or                           may promptly present the information under seal to the court for
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     (iv) subjects a person to undue burden.                            the district where compliance is required for a determination of
  (B) When Permitted. To protect a person subject to or affected        the claim. The person who produced the information must
by a subpoena, the court for the district where compliance is           preserve the information until the claim is resolved.
required may. on motion, quash or modify the subpoena ifit
requires:                                                              (g) Contempt.
      (i) disclosing a trade secret or other confidential              The court for the district where compliance is required-and
research, development, or commercial information; or                   also, after a motion is transferred, the issuing court-may hold
                                                                       in contempt a person who, having been served, fails without
                                                                       adequate excuse to obey the subpoena or an order related to it.
                                                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a)
                                                                        Committee Note (2013).




                            For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                      EXHIBIT A


       NAME:                             JANE DOE 3
       DATE OF BIRTH:
       SOCIAL SECURITY NO.:

                                           1.

       CERTIFIED copies of each and every record, report, correspondence, office

note and/or writing of any kind and/or nature pertaining to or in any way connected

with your professional association with the patient named above including but not

limited to ambulance trip reports, laboratory reports, radiology reports and imaging

studies, billing records, nurses' notes, progress notes, results ofphysical examinations,

histories and physicals, triage notes, discharge summaries, operative reports,

diagnoses and prognoses rendered by you or various medical personnel treating and

examining JANE DOE 3.

                                           2.

      CERTIFIED copies of each and every bill, record ofpayment, invoice, or any

other record pertaining to the charges for your services and/or professional association

with JANE DOE 3.
    Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 55 of 111




                           CERTIFIED DOCUMENTS


These records are to include a CERTIFIED copy ofyour entire file, including but not
limited to any and all documents whether typewritten, printed, recorded or
computerized, inclusive ofphotographs, video or digital records.

You must produce each and every piece ofpaper contained in your files, whether or
not prepared by you (i.e., letters or records sent to you from another source.) This
further includes correspondence, telephone messages, letters from attorneys, as well as
billing and insurance information on file. Leave nothing out for any reason.



                                 HIPAA NOTICE:

In accordance with the provisions of 45 CFR 164.512(e)(l)(ii), this Subpoena has
been issued pursuant to Rules 45(b)(l) and 5(b), Fed. R. Civ. P. The Party issuing this
Subpoena has provided written notice to the Patient listed above by sending her
attorney the attached Subpoena for which said Subpoena has been issued and included
sufficient information about the documents sought to permit the Plaintiff to raise an
objection to the Court or Administrative Tribunal.
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                       ATTACHMENT 7
                      Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 57 of 111
AO 88B (Rey, 02/14) Subpoena to Produce Documents, Information, Objects or to Permit Inspection ofPremises in a Civil Action
                                         UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION

        JANE DOE 3,

             Plaintiffs,                                                                                CIVIL ACTION FILE NO:
        V.
                                                                                                             1: 19-CV-03843-WMR

        RED ROOF INNS, INC. et al.

             Defendants.

                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                              OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

       To:      Centered for Life
                Attn: Custodian of Medical Records
                2487 Demere Road, Suite 500
                St. Simons Island, GA 31522

         [] Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following documents,
   electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the material:

        See Exhibit "A" attached hereto.


        Place: Michael Baum rind, Esq.                                                                  Date and Time:
               BONDURANT, MIXSON & ELMORE, LLP                                                          October 24, 2022; 9:00 a.m.
                1201 W. Peachtree St., N.W., Suite 3900
                Atlanta, GA 30309

         □ Inspection ofPremises: YOU ARE COMMAN DED to permit entry onto the designated premises, land, or other property
      possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect, measure, survey,
      photograph, test, or sample the property or any designated object or operation on it.

      !Place:                                                                                          IDate and Time:


         The following provisions offed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance; Rule 45(d), relating to
      your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond to this subpoena and the
      potential consequences of not doing so.

      Date:      October 4, 2022
                                               CLERK OF COURT
                                                                                                 OR
                                                                                                                 Isl Sarah J. Unatin
                                               Signature ofClerk or Deputy Clerk                                   Attorney's signature

      The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) Defendants, Extended Stay
      America, Inc., ESA Management, LLC and HVM, L.L.C., who issues or requests this subpoena, are: Sarah J. Unatin, Esq.,
      Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC, 3344 Peachtree Road, NE, Suite 2400, Atlanta, GA 30326, 404.876.2700,
      sunatin@wwhgd.com.
             Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 58 of 111



                                 Notice to the person who issues or requests this subpoena

     If this subpoena commands the production of documents, electronically stored information, or tangible things or the inspection
of premises before trial, a notice and copy of the subpoena must be served on each party in this case before it is served on the
person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
       Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 59 of 111




AO 88B (Rey, 02/14) Subpoena to Produce Documents, Information, Objects orto Permit Inspection ofPremises in a Civil Action (Page 2)

      Civil Action No. 1:19-CV-03843-WMR

                                               PROOF OF SERVICE
               (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

      I received this subpoena for                                _
      ().

                (date)                                                  (name ofindividual and title, ifany)


             1 served the subpoena by CERTlFIED MAIL, RETURN RECEIPT to the named person as follows:
             Centered for Life - Attn: Custodian of Medical Records

             on October 4, 2022; OR


      D      I returned the subpoena unexecuted because:


     Unless the subpoena was issued on behalf ofthe United States, or one of its officers or agents, I have also
     tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount
     of$------

     My fees are$ 0.00 for travel and $ 0.00 for services, for a total of $ 0.00.


     I declare under penalty of perjury that this information is true.



     Date: October 4, 2022                                                Isl Sarah I. Unatin
                                                                          Sarah J, Unatin, Attorney for Defendants Extended
                                                                          Stay America, Inc., ESA Management, LLC, ESA P
                                                                          Portfolio, LLC and ESA P Portfolio Operating Lessee,
                                                                          LLC
                                                                          Weinberg Wheeler Hudgins Gunn & Dial, LLP
                                                                          3344 Peachtree Road, Suite 2400
                                                                          Atlanta, Georgia 30326
        Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 60 of 111




AO 88B (Rey, 02/14) Subpoena to Produce Documents, Information, Objectsorto Permit Inspection
Premises in a Civil Action (Page 3)



                   Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.                                                      (ii) disclosing an unretained expert's opinion or
                                                                        information that does not describe specific occurrences in
 (1) For a Trial, Hearing, or Deposition. A subpoena may                dispute and results from the expert's study that was not
command a person to attend a trial, hearing, or deposition only         requested by a party.
as follows:                                                                (C) Specifying Conditions as an Alternative. In the
   (A) within 100 miles of where the person resides, is                 circumstances described in Rule 45(d)(3)(B), the court
employed, or regularly transacts business in person: or                 may, instead of quashing or modifying a subpoena, order
   (B) within the state where the person resides, is employed, or       appearance or production under specified conditions if the
regularly transacts business in person, if the person                   serving party:
      (i) is a party or a party's officer: or                                 (i) shows a substantial need for the testimony or material
      (ii) is commanded to attend a trial and would not incur           that cannot be otherwise met without undue hardship; and
substantial expense.                                                          (ii) ensures that the subpoenaed person will be reasonably
                                                                                   compensated.
  (2) For Other Discovery. A subpoena may command:.
   (A) production of documents, electronically stored                   (e) Duties in Responding to a Subpoena.
information, or tangible things at a place within I 00 miles of
where the person resides, is employed, or regularly transacts             (1) Producing Documents or Electronically Stored
business in person;and                                                  Information. These procedures apply to producing documents
   (B) inspection of premises at the premises to be inspected.          or electronically stored information:
                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.             documents must produce them as they are kept in the ordinary
                                                                        course of business or must organize and label them to correspond
  (1)Avoiding Undue Burden or Expense; Sanctions. A party or            to the categories in the demand.
attorney responsible for issuing and serving a subpoena must take          (B) Formfor Producing Electronically Stored Information
reasonable steps to avoid imposing undue burden or expense on a         Not Specified. If a subpoena does not specify a form for
person subject to the subpoena. The court for the district where        producing electronically stored information, the person
compliance is required must enforce this duty and impose an             responding must produce it in a form or forms in which it is
appropriate sanction-which may include lost earnings and                ordinarily maintained or in a reasonably usable form or forms.
reasonable attorney's fees-on a party or attorney who fails to             (C) Electronically Stored Information Produced in Only One
comply.                                                                 Form. The person responding need not produce the same
                                                                        electronically stored information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                   (D) Inaccessible Electronically Stored Information. The
    (A) Appearance Not Required. A person commanded to produce          person responding need not provide discovery of electronically
documents, electronically stored information, or tangible things, or    stored in formation from sources that the person identifies as not
to permit the inspection of premises. need not appear in person at      reasonably accessible because of undue burden or cost. On
the place of production or inspection unless also commanded to          motion to compel discovery or for a protective order, the person
appear for a deposition, hearing, or trial.                             responding must show that the information is not reasonably
    (B) Objections. A person commanded to produce documents or          accessible because of undue burden or cost. If that showing is
tangible things or to permit inspection may serve on the party or       made, the court may nonetheless order discovery from such
attorney designated in the subpoena a written objection to              sources if the requesting party shows good cause, considering
inspecting, copying. testing, or sampling any or all of the materials   the limitations ofRule 26(b)(2)(C). The court may specify
or to inspecting the premises-or to producing electronically stored     conditions for the discovery.
information in the fonn or forms requested. The objection must be
served before the earlier of the time specified for compliance or 14    (2) Claiming Privilege or Protection.
days after the subpoena is served. If an objection is made, the           (A) Information Withheld. A person withholding subpoenaed
following rules apply:                                                  information under a claim that it is privileged or subject to
      (i) At any time, on notice to the commanded person, the           protection as trial-preparation material must:
serving party may move the court for the district where                      (i) expressly make the claim; and
compliance is required for an order compelling production or                 (ii) describe the nature of the withheld documents,
inspection.                                                             communications, or tangible things in a manner that, without
      (ii) These acts may be required only as directed in the order,    revealing information itself privileged or protected, will enable
and the order must protect a person who is neither a party nor a        the parties to assess the claim.
party's officer from significant expense resulting from compliance.       (B) information Produced. If information produced in
                                                                        response to a subpoena is subject to a claim of privilege
 (3) Quashing or Modifying a Subpoena.                                  or of protection as
   (A) When Required. On timely motion, the court for the               trial-preparation material, the person making the claim may
district where compliance is required must quash or modify a            notify any party that received the information of the claim and
subpoena that:                                                          the basis for it. After being notified, a party must promptly
      (i) fails to allow a reasonable time to comply:                   return, sequester, or destroy the specified information and any
      (ii) requires a person to comply beyond the                       copies it has; must not use or disclose the information until the
geographical limits specified in Rule 45(c):                            claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected        information if the party disclosed it before being notified; and
matter, ifno exception or waiver applies; or                            may promptly present the information under seal to the court for
       Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 61 of 111



     (iv) subjects a person to undue burden.                            the district where compliance is required for a determination of
  (B) When Permitted. To protect a person subject to or affected        the claim. The person who produced the information must
by a subpoena, the court for the district where compliance is           preserve the information until the claim is resolved.
required may, on motion, quash or modify the subpoena ifit
requires:                                                              (g) Contempt.
      (i) disclosing a trade secret or other confidential              The court for the district where compliance is required-and
research, development, or commercial information; or                   also, after a motion is transferred, the issuing court-may hold
                                                                       in contempt a person who, having been served, fails without
                                                                       adequate excuse to obey the subpoena or an order related to it.
                                                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a)
                                                                        Committee Note (2013).




                            For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                      EXHIBIT A


       NAME:                             JANE DOE 3
       DATE OF BIRTH:
       SOCIAL SECURITY NO.:

                                            1.

       CERTIFIED copies of each and every record, report, correspondence, office

note and/or writing of any kind and/or nature pertaining to or in any way connected

with your professional association with the patient named above including but not

limited to ambulance trip reports, laboratory reports, radiology reports and imaging

studies, billing records, nurses' notes, progress notes, results ofphysical examinations,

histories and physicals, triage notes, discharge summaries, operative reports,

diagnoses and prognoses rendered by you or various medical personnel treating and

examining JANE DOE 3.

                                           2.

      CERTIFIED copies of each and every bill, record ofpayment, invoice, or any

other record pertaining to the charges for your services and/or professional association

with JANE DOE 3.
     Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 63 of 111




                            CERTIFIED DOCUMENTS


These records are to include a CERTIFIED copy ofyour entire file, including but not
limited to any and all documents whether typewritten, printed, recorded or
computerized, inclusive ofphotographs, video or digital records.

You must produce each and every piece ofpaper contained in your files, whether or
not prepared by you (i.e., letters or records sent to you from another source.) This
further includes correspondence, telephone messages, letters from attorneys, as well as
billing and insurance information on file. Leave nothing out for any reason.



                                 HIPAA NOTICE:

In accordance with the provisions of 45 CFR 164.512(e)(l)(ii), this Subpoena has
been issued pursuant to Rules 45(b)( 1) and 5(b), Fed. R. Civ. P. The Party issuing this
Subpoena has provided written notice to the Patient listed above by sending her
attorney the attached Subpoena for which said Subpoena has been issued and included
sufficient information about the documents sought to permit the Plaintiff to raise an
objection to the Court or Administrative Tribunal.
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                       ATTACHMENT 8
                       Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 65 of 111
AO 88B (Rey, 02/14) Subpoena to Produce Documents, Information, Objects or to Permit Inspection ofPremises in a Civil Action
                                         UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION

        JANE DOE 3,

             Plaintiffs,                                                                                CIVIL ACTION FILE NO:
        V.
                                                                                                             1: l 9-CV-03843-WMR

        RED ROOF INNS, INC. et al.

             Defendants.

                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                              OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

       To:      Emerald Isle Counseling
                Attn: Custodian of Medical Records
                501 Gloucester Street, Suite 204
                Brunswick, GA 31520

         [] Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following documents,
   electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the material:

        See Exhibit "A" attached hereto.


        Place: Michael Baumrind, Esq.                                                                   Date and Time:
               BONDURANT, MIXSON & ELMORE, LLP                                                          October 24, 2022; 9:00 a.m.
               1201 W. Peachtree St., N.W., Suite 3900
              Atlanta, GA 30309

         □ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other property
      possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect, measure, survey,
      photograph, test, or sample the property or any designated object or operation on it.

      IPlace:                                                                                          IDate and Time:


         The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance; Rule 45(d), relating to
      your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond to this subpoena and the
      potential consequences of not doing so.

      Date:      October 4, 2022
                                               CLERK OF COURT
                                                                                                 OR
                                                                                                                 Isl Sarah J. Unatin
                                               Signature of Clerk or Deputy Clerk                                  Attorney's signature

      The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) Defendants, Extended Stay
      America, Inc., ESA Management, LLC and HVM, L.L.C., who issues or requests this subpoena, are: Sarah J. Unatin, Esq.,
      Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC, 3344 Peachtree Road, NE, Suite 2400, Atlanta, GA 30326, 404.876.2700,
      sunatin@wwhgd.com.
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                                 Notice to the person who issues or requests this subpoena

     If this subpoena commands the production of documents, electronically stored information, or tangible things or the inspection
of premises before trial, a notice and copy of the subpoena must be served on each party in this case before it is served on the
person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev., O2/14) Subpoena to Produce Documents, Information, Objects or to Permit Inspection ofPremises in a Civil Action (Page 2)

      Civil Action No. l:19-CV-03843-WMR

                                                PROOF OF SERVICE
               (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

       I received this subpoena for                                _
       on ------
                (date)                                                   (name of individual and title, ifany)


       [8J   I served the subpoena by CERTIFIED MAIL, RETURN RECEIPT to the named person as follows:
             Emerald Isle Counseling - Attn: Custodian of Medical Records

             on October 4, 2022; OR


       D     I returned the subpoena unexecuted because:


     Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
     tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount
     ofS

     My fees are$ 0.00 for travel and $ 0.00 for services, for a total of $ 0.00.


     I declare under penalty of perjury that this information is true.



     Date: October 4, 2022                                                 Isl Sarah J. Unatin
                                                                           Sarah J, Unatin, Attorney for Defendants Extended
                                                                           Stay America, Inc., ESA Management, LLC, ESA P
                                                                           Portfolio, LLC and ESA P Portfolio Operating Lessee,
                                                                           LLC
                                                                           Weinberg Wheeler Hudgins Gunn & Dial, LLP
                                                                           3344 Peachtree Road, Suite 2400
                                                                           Atlanta, Georgia 30326
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AO 88B (Rey. 02/14) Subpoena to Produce Documents, Information, Objects orto Permit Inspection
Premises in a Civil Action Page
                            2)




                   Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.                                                      (ii) disclosing an unretained expert's opinion or
                                                                        in formation that does not describe speci fie occurrences in
  () For a Trial, Hearing, or Deposition. A subpoena may                dispute and results from the expert's study that was not
command a person to attend a trial, hearing, or deposition only         requested by a party.
as follows:                                                                 (C) Specifying Conditions as an Alternative. In the
   (A) within 100 miles of where the person resides, is                 circumstances described in Rule 45(d)(3)(B), the court
employed, or regularly transacts business in person; or                 may, instead of quashing or modifying a subpoena, order
   (B) within the state where the person resides, is employed, or       appearance or production under specified conditions if the
regularly transacts business in person, if the person                   serving party:
      (i) is a party or a party's officer; or                                 (i) shows a substantial need for the testimony or material
      (ii) is commanded to attend a trial and would not incur           that cannot be otherwise met without undue hardship; and
substantial expense.                                                          (ii) ensures that the subpoenaed person will be reasonably
                                                                                   compensated.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored                   (e) Duties in Responding to a Subpoena.
information, or tangible things at a place within 100 miles of
where the person resides, is employed, or regularly transacts             (1) Producing Documents or Electronically Stored
business in person; and                                                 Information. These procedures apply to producing documents
   (B) inspection of premises at the premises to be inspected.          or electronically stored information:
                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.             documents must produce them as they are kept in the ordinary
                                                                        course of business or must organize and label them to correspond
  (1)Avoiding Undue Burden or Expense; Sanctions. A party or            to the categories in the demand.
attorney responsible for issuing and serving a subpoena must take          (B) Formfor Producing Electronically Stored Information
reasonable steps to avoid imposing undue burden or expense on a         Not Specified. If a subpoena does not specify a form for
person subject to the subpoena. The court for the district where        producing electronically stored information, the person
compliance is required must enforce this duty and impose an             responding must produce it in a fonn or forms in which it is
appropriate sanction-which may include lost earnings and                ordinarily maintained or in a reasonably usable form or forms.
reasonable attorney's feeson a party or attorney who fails to              (C) Electronically Stored Information Produced in Only One
comply.                                                                 Form. The person responding need not produce the same
                                                                        electronically stored information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                   (D) Inaccessible Electronically Stored Information. The
    (A) Appearance Not Required. A person commanded to produce          person responding need not provide discovery of electronically
documents, electronically stored in formation, or tangible things, or   stored information from sources that the person identifies as not
to permit the inspection of premises, need not appear in person at      reasonably accessible because of undue burden or cost. On
the place of production or inspection unless also commanded to          motion to compel discovery or for a protective order, the person
appear for a deposition, hearing, or trial.                             responding must show that the information is not reasonably
    (B) Objections. A person commanded to produce documents or          accessible because of undue burden or cost. If that showing is
tangible things or to permit inspection may serve on the party or       made, the court may nonetheless order discovery from such
attorney designated in the subpoena a written objection to              sources if the requesting party shows good cause, considering
inspecting. copying, testing, or sampling any or all of the materials   the limitations of Rule 26(b)(2)(C). The court may specify
or to inspecting the premisesor to producing electronically stored      conditions for the discovery.
in formation in the form or forms requested. The objection must be
served before the earlier of the time specified for compliance or 14    (2) Claiming Privilege or Protection.
days after the subpoena is served. If an objection is made, the           (A) Information Withheld. A person withholding subpoenaed
following rules apply:                                                  information under a claim that it is privileged or subject to
      (i) At any time, on notice to the commanded person, the           protection as trial-preparation material must:
serving party may move the court for the district where                      (i) expressly make the claim; and
compliance is required for an order compelling production or                 (ii) describe the nature of the withheld documents,
inspection.                                                             communications, or tangible things in a manner that, without
      (ii) These acts may be required only as directed in the order,    revealing information itself privileged or protected, will enable
and the order must protect a person who is neither a party nor a        the parties to assess the claim.
party's officer from significant expense resulting from compliance.       (B) Information Produced. If information produced in
                                                                        response to a subpoena is subject to a claim of privilege
 (3) Quashing or Modifying a Subpoena.                                  or of protection as
   (A) When Required. On timely motion, the court for the               trial-preparation material, the person making the claim may
district where compliance is required must quash or modify a            notify any party that received the information of the claim and
subpoena that:                                                          the basis for it. After being notified, a party must promptly
      (i) fails to allow a reasonable time to comply;                   return, sequester, or destroy the specified information and any
      (ii) requires a person to comply beyond the                       copies it has; must not use or disclose the information until the
geographical limits specified in Rule 45(c):                            claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected        information if the party disclosed it before being notified; and
matter, ifno exception or waiver applies;or                             may promptly present the information under seal to the court for
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     (iv) subjects a person to undue burden.                           the district where compliance is required for a determination of
  (B) When Permitted. To protect a person subject to or affected       the claim. The person who produced the information must
by a subpoena, the court for the district where compliance is          preserve the information until the claim is resolved.
required may, on motion, quash or modify the subpoena if it
requires:                                                              (g) Contempt.
      (i) disclosing a trade secret or other confidential              The court for the district where compliance is required-and
research, development, or commercial information; or                   also, after a motion is transferred, the issuing court-may hold
                                                                       in contempt a person who, having been served, fails without
                                                                       adequate excuse to obey the subpoena or an order related to it.
                                                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a)
                                                                        Committee Note (2013).




                            For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                      EXHIBIT A


       NAME:                             JANEDOE3
       DATE OF BIRTH:
       SOCIAL SECURITY NO.:

                                            l.

       CERTIFIED copies of each and every record, report, correspondence, office

note and/or writing of any kind and/or nature pertaining to or in any way connected

with your professional association with the patient named above including but not

limited to ambulance trip reports, laboratory reports, radiology reports and imaging

studies, billing records, nurses' notes, progress notes, results ofphysical examinations,

histories and physicals, triage notes, discharge summaries, operative reports,

diagnoses and prognoses rendered by you or various medical personnel treating and

examining JANE DOE 3.

                                           2.

      CERTIFIED copies of each and every bill, record ofpayment, invoice, or any

other record pertaining to the charges for your services and/or professional association

with JANE DOE 3.
     Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 71 of 111




                           CERTIFIED DOCUMENTS


These records are to include a CERTIFIED copy ofyour entire file, including but not
limited to any and all documents whether typewritten, printed, recorded or
computerized, inclusive ofphotographs, video or digital records.

You must produce each and every piece ofpaper contained in your files, whether or
not prepared by you (i.e., letters or records sent to you from another source.) This
further includes correspondence, telephone messages, letters from attorneys, as well as
billing and insurance information on file. Leave nothing out for any reason.



                                 HIPAA NOTICE:

In accordance with the provisions of 45 CFR 164.512(e)(l)(ii), this Subpoena has
been issued pursuant to Rules 45(b)(1) and 5(b), Fed. R. Civ. P. The Party issuing this
Subpoena has provided written notice to the Patient listed above by sending her
attorney the attached Subpoena for which said Subpoena has been issued and included
sufficient information about the documents sought to permit the Plaintiff to raise an
objection to the Court or Administrative Tribunal.
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                       ATTACHMENT 9
                       Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 73 of 111
AO 88B (Rey, 02/14) Subpoena to Produce Documents, Information, Objects or to Permit Inspection ofPremises in a Civil Action
                                         UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION

        JANE DOE 3,
             Plaintiffs,                                                                                CIVIL ACTION FILE NO:
        V.
                                                                                                             1: 19-CV-03843-WMR

        RED ROOF INNS, INC. et al.

             Defendants.

                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                              OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

       To:      Deuser, M.D. & Associates
                Attn: Custodian of Medical Records
                7 Saint Andrews Court
                Brunswick, GA 31520

         00 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following documents,
   electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the material:

        See Exhibit "A" attached hereto.


        Place: Michael Baumrind, Esq.                                                                   Date and Time:
               BONDURANT, MIXSON & ELMORE, LLP                                                          October 24, 2022; 9:00 a.m.
                1201 W. Peachtree St., N.W., Suite 3900
                Atlanta, GA 30309

         □ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other property
      possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect, measure, survey,
      photograph, test, or sample the property or any designated object or operation on it.

      !Place:                                                                                          !Date and Time:


         The following provisions offed. R. Civ. P. 45 are attached-Rule 45(c), relating to the place of compliance; Rule 45(d), relating to
      your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond to this subpoena and the
      potential consequences of not doing so.

      Date:      October 4, 2022
                                               CLERK OF COURT
                                                                                                  OR
                                                                                                                 Isl Sarah J. Unatin
                                               Signature ofClerk or Deputy Clerk                                   Attorney 's signature

      The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) Defendants, Extended Stay
      America, Inc., ESA Management, LLC and HVM, L.L.C., who issues or requests this subpoena, are: Sarah J. Unatin, Esq.,
      Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC, 3344 Peachtree Road, NE, Suite 2400, Atlanta, GA 30326, 404.876.2700,
      sunatin@wwhgd.com.
             Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 74 of 111



                                 Notice to the person who issues or requests this subpoena

     If this subpoena commands the production of documents, electronically stored information, or tangible things or the inspection
of premises before trial, a notice and copy of the subpoena must be served on each party in this case before it is served on the
person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
       Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 75 of 111




AO 88B (Rey, 02/14) Subpoena to Produce Documents, Information, Objects or to Permit Inspection ofPremises in a Civil Action (Page 2)

      Civil Action No. l:19-CV-03843-WMR

                                               PROOF OF SERVICE
               (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

       I received this subpoena for                               _
       on ------
                (date)                                                   (name ofindividual and title, ifany)


             I served the subpoena by CERTIFIED MAIL, RETURN RECEIPT to the named person as follows:
             Deuser, M.D. & Associates - Attn: Custodian of Medical Records

             on October 4, 2022; OR


       D     I returned the subpoena unexecuted because:


     Unless the subpoena was issued on behalf ofthe United States, or one of its officers or agents, I have also
     tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount
     of S

     My fees are$ 0.00 for travel and $ 0.00 for services, for a total of $ 0.00.


     I declare under penalty of perjury that this information is true.



     Date: October 4, 2022                                                Isl Sarah J. Unatin
                                                                          Sarah J, Unatin, Attorney for Defendants Extended
                                                                          Stay America, Inc., ESA Management, LLC, ESA P
                                                                          Portfolio, LLC and ESA P Portfolio Operating Lessee,
                                                                          LLC
                                                                          Weinberg Wheeler Hudgins Gunn & Dial, LLP
                                                                          3344 Peachtree Road, Suite 2400
                                                                          Atlanta, Georgia 30326
        Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 76 of 111




AO 88B (Rey, 02/14)Subpoena to Produce Documents, Information, Objects orto Permit Inspection
Premises in a Civil Action (Page
                             3)




                   Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.                                                      (ii) disclosing an unretained expert's opinion or
                                                                        information that does not describe specific occurrences in
  (I) For a Trial, Hearing, or Deposition. A subpoena may               dispute and results from the expert's study that was not
command a person to attend a trial, hearing, or deposition only         requested by a party.
as follows:                                                                (C) Specifying Conditions as an Alternative. In the
   (A) within 100 miles of where the person resides, is                 circumstances described in Rule 45(d)(3)(B}, the court
employed, or regularly transacts business in person; or                 may, instead of quashing or modifying a subpoena, order
   (B) within the state where the person resides, is employed, or       appearance or production under specified conditions if the
regularly transacts business in person, if the person                   serving party:
      (i) is a party or a party 's officer; or                                (i) shows a substantial need for the testimony or material
      (ii) is commanded to attend a trial and would not incur           that cannot be otherwise met without undue hardship; and
substantial expense.                                                          (ii) ensures that the subpoenaed person will be reasonably
                                                                                   compensated.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored                   (e) Duties in Responding to a Subpoena.
information, or tangible things at a place within 100 miles of
where the person resides, is employed, or regularly transacts             (1) Producing Documents or Electronically Stored
business in person;and                                                  Information. These procedures apply to producing documents
   (B) inspection of premises at the premises to be inspected.          or electronically stored information:
                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.             documents must produce them as they are kept in the ordinary
                                                                        course of business or must organize and label them to correspond
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or           to the categories in the demand.
attorney responsible for issuing and serving a subpoena must take          (B) Formfor Producing Electronically Stored Information
reasonable steps to avoid imposing undue burden or expense on a         Not Specified. If a subpoena does not specify a form for
person subject to the subpoena. The court for the district where        producing electronically stored information, the person
compliance is required must enforce this duty and impose an             responding must produce it in a form or forms in which it is
appropriate sanction-which may include lost earnings and                ordinarily maintained or in a reasonably usable form or forms.
reasonable attorney's fees---on a party or attorney who fails to           (C) Electronically Stored Information Produced in Only One
comply.                                                                 Form. The person responding need not produce the same
                                                                        electronically stored information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                   (D) Inaccessible Electronically Stored Information. The
    (A) Appearance Not Required. A person commanded to produce          person responding need not provide discovery of electronically
documents, electronically stored information, or tangible things, or    stored information from sources that the person identifies as not
to permit the inspection of premises. need not appear in person at      reasonably accessible because of undue burden or cost. On
the place of production or inspection unless also commanded to          motion to compel discovery or for a protective order, the person
appear for a deposition, hearing, or trial.                             responding must show that the information is not reasonably
    (B) Objections. A person commanded to produce documents or          accessible because of undue burden or cost. If that showing is
tangible things or to permit inspection may serve on the party or       made, the court may nonetheless order discovery from such
attorney designated in the subpoena a written objection to              sources if the requesting party shows good cause, considering
inspecting, copying. testing, or sampling any or all of the materials   the limitations of Rule 26(b)2)C). The court may specify
or to inspecting the premises---or to producing electronically stored   conditions for the discovery.
in formation in the form or forms requested. The objection must be
served before the earlier of the time specified for compliance or 14    (2) Claiming Privilege or Protection.
days after the subpoena is served. If an objection is made, the           (A} Information Withheld. A person withholding subpoenaed
following rules apply:                                                  information under a claim that it is privileged or subject to
      (i} At any time, on notice to the commanded person, the           protection as trial-preparation material must:
serving party may move the court for the district where                      (i) expressly make the claim; and
compliance is required for an order compelling production or                 (ii) describe the nature of the withheld documents,
inspection.                                                             communications, or tangible things in a manner that, without
      (ii) These acts may be required only as directed in the order,    revealing information itself privileged or protected, will enable
and the order must protect a person who is neither a party nor a        the parties to assess the claim.
party's officer from significant expense resulting from compliance.       (B) Information Produced. If information produced in
                                                                        response to a subpoena is subject to a claim of privilege
 (3) Quashing or Modifying a Subpoena.                                  or of protection as
   (A) When Required. On timely motion, the court for the               trial-preparation material, the person making the claim may
district where compliance is required must quash or modify a            notify any party that received the information of the claim and
subpoena that:                                                          the basis for it. After being notified, a party must promptly
      (i) fails to allow a reasonable time to comply;                   return, sequester, or destroy the specified information and any
      (ii) requires a person to comply beyond the                       copies it has; must not use or disclose the information until the
geographical limits specified in Rule 45(c):                            claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected        information if the party disclosed it before being notified; and
matter, if no exception or waiver applies; or                           may promptly present the information under seal to the court for
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     (iv) subjects a person to undue burden.                           the district where compliance is required for a determination of
  (B) When Permitted. To protect a person subject to or affected       the claim. The person who produced the information must
by a subpoena, the court for the district where compliance is          preserve the infonnation until the claim is resolved.
required may. on motion, quash or modify the subpoena if it
requires:                                                              (g) Contempt.
      (i) disclosing a trade secret or other confidential              The court for the district where compliance is required-and
research, development, or commercial information; or                   also, after a motion is transferred, the issuing court-may hold
                                                                       in contempt a person who, having been served, fails without
                                                                       adequate excuse to obey the subpoena or an order related to it.
                                                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a)
                                                                        Committee Note (2013).




                            For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                      EXHIBIT A


       NAME:                             JANE DOE 3
       DATE OF BIRTH:
       SOCIAL SECURITY NO.:

                                           1.

       CERTIFIED copies of each and every record, report, correspondence, office

note and/or writing of any kind and/or nature pertaining to or in any way connected

with your professional association with the patient named above including but not

limited to ambulance trip reports, laboratory reports, radiology reports and imaging

studies, billing records, nurses' notes, progress notes, results ofphysical examinations,

histories and physicals, triage notes, discharge summaries, operative reports,

diagnoses and prognoses rendered by you or various medical personnel treating and

examining JANE DOE 3.

                                           2.

      CERTIFIED copies of each and every bill, record ofpayment, invoice, or any

other record pertaining to the charges for your services and/or professional association

with JANE DOE 3.
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                           CERTIFIED DOCUMENTS


These records are to include a CERTIFIED copy ofyour entire file, including but not
limited to any and all documents whether typewritten, printed, recorded or
computerized, inclusive ofphotographs, video or digital records.

You must produce each and every piece of paper contained in your files, whether or
not prepared by you (i.e., letters or records sent to you from another source.) This
further includes correspondence, telephone messages, letters from attorneys, as well as
billing and insurance information on file. Leave nothing out for any reason.



                                 HIPAA NOTICE:

In accordance with the provisions of 45 CFR 164.512(e)(l)(ii), this Subpoena has
been issued pursuant to Rules 45(b)(1) and 5(b), Fed. R. Civ. P. The Party issuing this
Subpoena has provided written notice to the Patient listed above by sending her
attorney the attached Subpoena for which said Subpoena has been issued and included
sufficient information about the documents sought to permit the Plaintiff to raise an
objection to the Court or Administrative Tribunal.
Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 80 of 111




                       ATTACHMENT 10
                       Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 81 of 111
AO 88B (Rey, O2/14) Subpoena to Produce Documents, Information, Objects or to Permit Inspection of Premises in a Civil Action
                                         UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION

        JANE DOE 3,

             Plaintiffs,                                                                                CIVIL ACTION FILE NO:
        V.
                                                                                                              1:19-CV-03843-WMR

        RED ROOF INNS, INC. et al.

             Defendants.

                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                              OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

       To:      Ash Tree Center
                Attn: Custodian of Medical Records
                2255 Cumberland Parkway SE
                Atlanta, GA 30339

         IRl Production: YOU ARE COMMA NDED to produce at the time, date, and place set forth below the following documents,
   electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the material:

        See Exhibit "A" attached hereto.


        Place: Michael Baum rind, Esq.                                                                   Date and Time:
               BONDURANT, MIXSON & ELMORE, LLP                                                           October 24, 2022; 9:00 a.m.
                1201 W. Peachtree St., N.W., Suite 3900
                Atlanta, GA 30309

          □ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other property
      possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect, measure, survey,
      photograph, test, or sample the property or any designated object or operation on it.

      [Place:                                                                                           IDate and Time:


         The following provisions offed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance; Rule 45(d), relating to
      your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond to this subpoena and the
      potential consequences of not doing so.

      Date:      October 4, 2022
                                               CLERK OF COURT
                                                                                                  OR
                                                                                                                 Isl Sarah J. Unatin
                                               Signature ofClerk or Deputy Clerk                                   Attorney's signature

      The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) Defendants, Extended Stay
      America, Inc., ESA Management, LLC and HVM, L.L.C., who issues or requests this subpoena, are: Sarah J. Unatin, Esq.,
      Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC, 3344 Peachtree Road, NE, Suite 2400, Atlanta, GA 30326, 404.876.2700,
      sunatin@wwhgd.com.
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                                 Notice to the person who issues or requests this subpoena

     If this subpoena commands the production of documents, electronically stored information, or tangible things or the inspection
of premises before trial, a notice and copy of the subpoena must be served on each party in this case before it is served on the
person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev, 02/14) Subpoena to Produce Documents, Information, Objects orto Permit Inspection of Premises in a Civil Action (Page2)

      Civil Action No. 1:19-CV-03843-WMR

                                               PROOF OF SERVICE
               (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

      I received this subpoena for                                _
      on ------
               (date)                                                   (name of individual and title, ifany)


      cg:J   I served the subpoena by CERTIFIED MAIL, RETURN RECEIPT to the named person as follows: Ash
             Tree Center - Attn: Custodian of Medical Records

             on October 4, 2022; OR


             1 returned the subpoena unexecuted because:


     Unless the subpoena was issued on behalf ofthe United States, or one of its officers or agents, I have also
     tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount
     ofS

     My fees are$ 0.00 for travel and $ 0.00 for services, for a total of $ 0.00.


     I declare under penalty of perjury that this information is true.



     Date: October 4, 2022                                                Isl Sarah I. Unatin
                                                                          Sarah J, Unatin, Attorney for Defendants Extended
                                                                          Stay America, Inc., ESA Management, LLC, ESA P
                                                                          Portfolio, LLC and ESA P Portfolio Operating Lessee,
                                                                          LLC
                                                                          Weinberg Wheeler Hudgins Gunn & Dial, LLP
                                                                          3344 Peachtree Road, Suite 2400
                                                                          Atlanta, Georgia 30326
        Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 84 of 111




AO 88B (Rev. O2/14)Subpoena to Produce Documents, Information, Objects orto Permit Inspection
Premises in a Civil Action Page
                            2)




                   Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.                                                      (ii) disclosing an unretained expert's opinion or
                                                                        information that does not describe specific occurrences in
  (I) For a Trial, Hearing, or Deposition. A subpoena may               dispute and results from the expert's study that was not
command a person to attend a trial, hearing, or deposition only         requested by a party.
as follows:                                                                (C) Specifying Conditions as an Alternative. In the
   (A) within 100 miles of where the person resides, is                 circumstances described in Rule 45(d)(3)(B), the court
employed, or regularly transacts business in person; or                 may, instead of quashing or modifying a subpoena, order
   (B) within the state where the person resides. is employed, or       appearance or production under specified conditions if the
regularly transacts business in person, if the person                   serving party:
      (i) is a party or a party 's officer; or                                (i) shows a substantial need for the testimony or material
      (ii) is commanded to attend a trial and would not incur           that cannot be otherwise met without undue hardship; and
substantial expense.                                                          (ii) ensures that the subpoenaed person will be reasonably
                                                                                   compensated.
  (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored                  (e) Duties in Responding to a Subpoena.
information, or tangible things at a place within I 00 miles of
where the person resides, is employed, or regularly transacts            (1) Producing Documents or Electronically Stored
business in person; and                                                 Information. These procedures apply to producing documents
    (B) inspection of premises at the premises to be inspected.         or electronically stored information:
                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.             documents must produce them as they are kept in the ordinary
                                                                        course of business or must organize and label them to correspond
  (1)Avoiding Undue Burden or Expense; Sanctions. A party or            to the categories in the demand.
attorney responsible for issuing and serving a subpoena must talce         (B) Formfor Producing Electronically Stored Information
reasonable steps to avoid imposing undue burden or expense on a         Not Specified. If a subpoena does not specify a form for
person subject to the subpoena. The court for the district where        producing electronically stored information, the person
compliance is required must enforce this duty and impose an             responding must produce it in a form or forms in which it is
appropriate sanction-which may include lost earnings and                ordinarily maintained or in a reasonably usable form or forms.
reasonable attorney's fees-on a party or attorney who fails to             (C) Electronically Stored Information Produced in Only One
comply.                                                                 Form. The person responding need not produce the same
                                                                        electronically stored information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                    (D) Inaccessible Electronically Stored Information. The
   (A) Appearance Not Required. A person commanded to produce           person responding need not provide discovery of electronically
documents, electronically stored in fonnation, or tangible things, or   stored information from sources that the person identifies as not
to permit the inspection of premises, need not appear in person at      reasonably accessible because of undue burden or cost. On
the place of production or inspection unless also commanded to          motion to compel discovery or for a protective order, the person
appear for a deposition, hearing, or trial.                             responding must show that the information is not reasonably
   (B) Objections. A person commanded to produce documents or           accessible because of undue burden or cost. If that showing is
tangible things or to permit inspection may serve on the party or       made, the court may nonetheless order discovery from such
attorney designated in the subpoena a written objection to              sources if the requesting party shows good cause, considering
inspecting, copying, testing, or sampling any or all of the materials   the limitations of Rule 26(b )(2)(C). The court may specify
or to inspecting the premises-or to producing electronically stored     conditions for the discovery.
information in the form or forms requested. The objection must be
served before the earlier of the time specified for compliance or 14    (2) Claiming Privilege or Protection.
days after the subpoena is served. If an objection is made, the           (A) Information Withheld. A person withholding subpoenaed
following rules apply:                                                  information under a claim that it is privileged or subject to
      (i) At any time, on notice to the commanded person, the           protection as trial-preparation material must:
serving party may move the court for the district where                      (i) expressly make the claim; and
compliance is required for an order compelling production or                 (ii) describe the nature of the withheld documents,
inspection.                                                             communications, or tangible things in a manner that, without
     (ii) These acts may be required only as directed in the order,     revealing information itself privileged or protected, will enable
and the order must protect a person who is neither a party nor a        the parties to assess the claim.
party's officer from significant expense resulting from compliance.       (B) Information Produced. If information produced in
                                                                        response to a subpoena is subject to a claim of privilege
 (3) Quashing or Modifying a Subpoena.                                  or of protection as
   (A) When Required. On timely motion, the court for the               trial-preparation material, the person making the claim may
district where compliance is required must quash or modify a            notify any party that received the information of the claim and
subpoena that:                                                          the basis for it. After being notified, a party must promptly
      (i) fails to allow a reasonable time to comply;                   return, sequester, or destroy the specified information and any
      (ii) requires a person to comply beyond the                       copies it has; must not use or disclose the information until the
geographical limits specified in Rule 45(c);                            claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected        information if the party disclosed it before being notified; and
matter, if no exception or waiver applies; or                           may promptly present the information under seal to the court for
       Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 85 of 111




     (iv) subjects a person to undue burden.                             the district where compliance is required for a determination of
  (B) When Permitted. To protect a person subject to or affected         the claim. The person who produced the information must
by a subpoena, the court for the district where compliance is            preserve the information until the claim is resolved.
required may, on motion, quash or modify the subpoena if it
requires:                                                                (g) Contempt.
      (i) disclosing a trade secret or other confidential                The court for the district where compliance is required-and
research, development, or commercial information; or                     also, after a motion is transferred, the issuing court-may hold
                                                                         in contempt a person who, having been served, fails without
                                                                         adequate excuse to obey the subpoena or an order related to it.
                                                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a)
                                                                          Committee Note (2013).




                            For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (20 I 3).
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                                      EXHIBIT A


       NAME:                             JANE DOE 3
       DATE OF BIRTH:
       SOCIAL SECURITY NO.:

                                           1.

       CERTIFIED copies of each and every record, report, correspondence, office

note and/or writing of any kind and/or nature pertaining to or in any way connected

with your professional association with the patient named above including but not

limited to ambulance trip reports, laboratory reports, radiology reports and imaging

studies, billing records, nurses' notes, progress notes, results ofphysical examinations,

histories and physicals, triage notes, discharge summaries, operative reports,

diagnoses and prognoses rendered by you or various medical personnel treating and

examining JANE DOE 3.

                                           2.

      CERTIFIED copies of each and every bill, record ofpayment, invoice, or any

other record pertaining to the charges for your services and/or professional association

with JANE DOE 3.
    Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 87 of 111




                           CERTIFIED DOCUMENTS


These records are to include a CERTIFIED copy ofyour entire file, including but not
limited to any and all documents whether typewritten, printed, recorded or
computerized, inclusive ofphotographs, video or digital records.

You must produce each and every piece ofpaper contained in your files, whether or
not prepared by you (i.e., letters or records sent to you from another source.) This
further includes correspondence, telephone messages, letters from attorneys, as well as
billing and insurance information on file. Leave nothing out for any reason.



                                 HIPAA NOTICE:

In accordance with the provisions of 45 CFR 164.512(e)(l)(ii), this Subpoena has
been issued pursuant to Rules 45(b)(l) and 5(b), Fed. R. Civ. P. The Party issuing this
Subpoena has provided written notice to the Patient listed above by sending her
attorney the attached Subpoena for which said Subpoena has been issued and included
sufficient information about the documents sought to permit the Plaintiff to raise an
objection to the Court or Administrative Tribunal.
Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 88 of 111




                       ATTACHMENT 11
                       Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 89 of 111
AO 88B (Rey, 02/14) Subpoena to Produce Documents, Information, Objects orto Permit Inspection ofPremises in a Civil Action
                                         UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION

        JANE DOE 3,

             Plaintiffs,                                                                               CIVIL ACTION FILE NO:
        V.
                                                                                                            1: 19-CV-03843-WMR

        RED ROOF INNS, INC. et al.

             Defendants.

                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                              OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

       To:      Coastal Community Health Services
                Attn: Custodian of Medical Records
                106 Shoppers Way, Suite 101
                Brunswick, GA 31525

         [El Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following documents,
   electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the material:

        See Exhibit "A" attached hereto.


        Place: Michael Baum rind, Esq.                                                                 Date and Time:
               BONDURANT, MIXSON & ELMORE, LLP                                                         October 24, 2022; 9:00 a.m.
                1201 W. Peachtree St., N.W., Suite 3900
                Atlanta, GA 30309

         □ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other property
      possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect, measure, survey,
      photograph, test, or sample the property or any designated object or operation on it.

      IPlace:                                                                                         IDate and Time:


         The following provisions offed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance; Rule 45(d), relating to
      your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond to this subpoena and the
      potential consequences of not doing so.

      Date:      October 4, 2022
                                              CLERK OF COURT
                                                                                                 OR
                                                                                                                Isl Sarah J. Unatin
                                              Signature ofClerk or Deputy Clerk                                   Attorney's signature

      The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) Defendants, Extended Stay
      America, Ine., ESA Management, LLC and HVM, L.L.C., who issues or requests this subpoena, are: Sarah J. Unatin, Esq.,
      Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC, 3344 Peachtree Road, NE, Suite 2400, Atlanta, GA 30326, 404.876.2700,
      sunatin@wwhgd.com.
             Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 90 of 111



                                 Notice to the person who issues or requests this subpoena

     If this subpoena commands the production of documents, electronically stored information, or tangible things or the inspection
of premises before trial, a notice and copy of the subpoena must be served on each party in this case before it is served on the
person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 91 of 111




AO 88B (Rey, 02/14) Subpoena to Produce Documents, Information, Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

      Civil Action No. l:19-CV-03843-WMR

                                                PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

       I received this subpoena for                                _
       on                  _
                (date)                                                   (name ofindividual and title, ifany)


       ~     I served the subpoena by CERTIFIED MAIL, RETURN RECEIPT to the named person as follows:
             Coastal Community Health Services Attn: Custodian of Medical Records.

             on October 4, 2022; OR


       D     I returned the subpoena unexecuted because:


     Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
     tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount
     of

     My fees are$ 0.00 for travel and $ 0.00 for services, for a total of$ 0.00.


     I declare under penalty of perjury that this information is true.



     Date: October 4, 2022                                                 Isl Sarah I. Unatin
                                                                           Sarah J, Unatin, Attorney for Defendants Extended
                                                                           Stay America, Inc., ESA Management, LLC, ESA P
                                                                           Portfolio, LLC and ESA P Portfolio Operating Lessee,
                                                                           LLC
                                                                           Weinberg Wheeler Hudgins Gunn & Dial, LLP
                                                                           3344 Peachtree Road, Suite 2400
                                                                           Atlanta, Georgia 30326
        Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 92 of 111




AO 88B (Rev, 02/14) Subpoena to Produce Documents, Information, Objects or to Permit Inspection
Premises in a Civil Action (Page 3)




                   Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.                                                       (ii) disclosing an unretained expert's opinion or
                                                                         information that does not describe specific occurrences in
  (I) For a Trial, Hearing, or Deposition. A subpoena may                dispute and results from the expert's study that was not
command a person to attend a trial, hearing, or deposition only          requested by a party.
as follows:                                                                 (C) Specifying Conditions as an Alternative. In the
   (A) within I 00 miles of where the person resides, is                 circumstances described in Rule 45(0)3)B), the court
employed, or regularly transacts business in person; or                  may, instead of quashing or modifying a subpoena, order
   (B) within the state where the person resides, is employed, or        appearance or production under specified conditions if the
regularly transacts business in person, if the person                    serving party:
      (i) is a party or a party 's officer; or                                 (i) shows a substantial need for the testimony or material
      (ii) is commanded to attend a trial and would not incur            that cannot be otherwise met without undue hardship; and
substantial expense.                                                           (ii) ensures that the subpoenaed person will be reasonably
                                                                                    compensated.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored                    (e) Duties in Responding to a Subpoena.
information, or tangible things at a place within I 00 miles of
where the person resides, is employed, or regularly transacts              (1) Producing Documents or Electronically Stored
business in person; and                                                  Information. These procedures apply to producing documents
   (B) inspection of premises at the premises to be inspected.           or electronically stored information:
                                                                            (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.              documents must produce them as they are kept in the ordinary
                                                                         course of business or must organize and label them to correspond
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or            to the categories in the demand.
attorney responsible for issuing and serving a subpoena must take           (B) Formfor Producing Electronically Stored Information
reasonable steps to avoid imposing undue burden or expense on a          Not Specified. If a subpoena does not specify a form for
person subject to the subpoena. The court for the district where         producing electronically stored information, the person
compliance is required must enforce this duty and impose an              responding must produce it in a form or forms in which it is
appropriate sanction-which may include lost earnings and                 ordinarily maintained or in a reasonably usable form or forms.
reasonable attorney's fees-on a party or attorney who fails to              (C) Electronically Stored Information Produced in Only One
comply.                                                                  Form. The person responding need not produce the same
                                                                         electronically stored information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                    (D) Inaccessible Electronically Stored Information. The
    (A) Appearance Not Required. A person commanded to produce           person responding need not provide discovery of electronically
documents, electronically stored information, or tangible things, or     stored information from sources that the person identifies as not
to permit the inspection of premises, need not appear in person at       reasonably accessible because of undue burden or cost. On
the place of production or inspection unless also commanded to           motion to compel discovery or for a protective order, the person
appear for a deposition, hearing, or trial.                              responding must show that the in formation is not reasonably
    (B) Objections. A person commanded to produce documents or           accessible because of undue burden or cost. If that showing is
tangible things or to permit inspection may serve on the party or        made, the court may nonetheless order discovery from such
attorney designated in the subpoena a written objection to               sources if the requesting party shows good cause, considering
inspecting, copying. testing, or sampling any or all of the materials    the limitations of Rule 26b)2)C). The court may specify
or to inspecting the premises-or to producing electronically stored      conditions for the discovery.
in formation in the form or forms requested. The objection must be
served before the earlier of the time specified for compliance or 14     (2) Claiming Privilege or Protection.
days after the subpoena is served. If an objection is made, the             (A) Information Withheld. A person withholding subpoenaed
following rules apply:                                                    information under a claim that it is privileged or subject to
      (i) At any time, on notice to the commanded person, the            protection as trial-preparation material must:
serving party may move the court for the district where                       (i) expressly make the claim; and
comp I iance is required for an order compelling production or                (ii) describe the nature of the withheld documents,
inspection.                                                              communications, or tangible things in a manner that, without
      (ii) These acts may be required only as directed in the order,     revealing information itself privileged or protected, will enable
and the order must protect a person who is neither a party nor a         the parties to assess the claim.
party's officer from significant expense resulting from compliance.         (B) Information Produced. If information produced in
                                                                         response to a subpoena is subject to a claim of privilege
 (3) Quashing or Modifying a Subpoena.                                   or of protection as
   (A) When Required. On timely motion, the court for the                trial-preparation material, the person making the claim may
district where compliance is required must quash or modify a             notify any party that received the information of the claim and
subpoena that:                                                           the basis for it. After being notified, a party must promptly
      (i) fails to allow a reasonable time to comply:                    return, sequester, or destroy the specified information and any
      (ii) requires a person to comply beyond the                        copies it has; must not use or disclose the information until the
geographical limits specified in Rule 45(c):                             claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected         information if the party disclosed it before being notified; and
matter, ifno exception or waiver applies; or                             may promptly present the information under seal to the court for
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     (iv) subjects a person to undue burden.                            the district where compliance is required for a determination of
  (B) When Permitted. To protect a person subject to or affected        the claim. The person who produced the information must
by a subpoena, the court for the district where compliance is           preserve the information until the claim is resolved.
required may, on motion. quash or modify the subpoena ifit
requires:                                                              (g) Contempt.
      (i) disclosing a trade secret or other confidential              The court for the district where compliance is required-and
research, development, or commercial information; or                   also, after a motion is transferred, the issuing court-may hold
                                                                       in contempt a person who, having been served, fails without
                                                                       adequate excuse to obey the subpoena or an order related to it.
                                                                        For access to subpoena materials, see Fed. R. Ci. P. 45(a)
                                                                        Committee Note (2013).




                            For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                     EXHIBIT A


       NAME:                            JANE DOE 3
       DATE OF BIRTH:
       SOCIAL SECURITY NO.:

                                           1.

      CERTIFIED copies of complete health record to include all notes, reports,

correspondence, office note and/or writing of any kind and/or nature pertaining to or

in any way connected with your professional association with the patient named above

including but not limited to patient history and results of physical exam and

documentation, nurses' notes, progress notes, diagnoses and prognoses rendered by

you or various medical personnel treating and examining JANE DOE 3.

                                           2.

      CERTIFIED copies of each and every bill, record ofpayment, invoice, or any

other record pertaining to the charges for your services and/or professional association

with JANE DOE 3.
    Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 95 of 111




                            CERTIFIED DOCUMENTS


These records are to include a CERTIFIED copy ofyour entire file, including but not
limited to any and all documents whether typewritten, printed, recorded or
computerized, inclusive ofphotographs, video or digital records.

You must produce each and every piece ofpaper contained in your files, whether or
not prepared by you (i.e., letters or records sent to you from another source.) This
further includes correspondence, telephone messages, letters from attorneys, as well as
billing and insurance information on file. Leave nothing out for any reason.



                                  HIPAA NOTICE:

In accordance with the provisions of 45 CFR 164.512(e)(l)(ii), this Subpoena has
been issued pursuant to Rules 45(b)( 1) and 5(b), Fed. R. Civ. P. The Party issuing this
Subpoena has provided written notice to the Patient listed above by sending her
attorney the attached Subpoena for which said Subpoena has been issued and included
sufficient information about the documents sought to permit the Plaintiff to raise an
objection to the Court or Administrative Tribunal.
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                       ATTACHMENT 12
                       Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 97 of 111
AO 88B (Rey, 02/14) Subpoena to Produce Documents, Information, Objects or to Permit Inspection ofPremises in a Civil Action
                                         UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION

        JANE DOE 3,

             Plaintiffs,                                                                                CIVIL ACTION FILE NO:
        V.
                                                                                                             1: 19-CV-03843-WMR

        RED ROOF INNS, INC. et al.

             Defendants.

                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                              OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

       To:      Southeast Georgia Physicians Associates OB/GYN
                Attn: Custodian of Medical Records
                3025 Shrine Road, Suite 190
                Brunswick, GA 31520

         00 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following documents,
   electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the material:

        See Exhibit "A" attached hereto.


        Place: Michael Baumrind, Esq.                                                                   Date and Time:
               BONDURANT, MIXSON & ELMORE, LLP                                                          October 24, 2022; 9:00 a.m.
               1201 W. Peachtree St., N.W., Suite 3900
                Atlanta, GA 30309

         □ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other property
      possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect, measure, survey,
      photograph, test, or sample the property or any designated object or operation on it.

      IPlace:                                                                                          IDate and Time:


         The following provisions offed. R. Civ. P. 45 are attached-Rule 45(c), relating to the place of compliance; Rule 45(d), relating to
      your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond to this subpoena and the
      potential consequences of not doing so.

      Date:      October 4, 2022
                                               CLERK OF COURT
                                                                                                 OR
                                                                                                                 Isl Sarah J. Unatin
                                               Signature ofClerk or Deputy Clerk                                   Attorney's signature

      The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) Defendants, Extended Stay
      America, Inc., ESA Management, LLC and HVM, L.L.C., who issues or requests this subpoena, are: Sarah J. Unatin, Esq.,
      Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC, 3344 Peachtree Road, NE, Suite 2400, Atlanta, GA 30326, 404.876.2700,
      sunatin@wwhgd.com.
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                                 Notice to the person who issues or requests this subpoena

     If this subpoena commands the production of documents, electronically stored information, or tangible things or the inspection
of premises before trial, a notice and copy of the subpoena must be served on each party in this case before it is served on the
person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 99 of 111




AO 88B (Rev, O2/14) Subpoena to Produce Documents, Information, Objects or to Permit Inspection ofPremises in a Civil Action Page2)

      Civil Action No. 119-CV-03843-WMR

                                               PROOF OF SERVICE
               (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

       I received this subpoena for                              _
       on ------
                (date)                                                  (name ofindividual and title, ifany)


       ~     I served the subpoena by CERTIFIED MAIL, RETURN RECEIPT to the named person as follows:
             Southeast Georgia Physicians Associates OB/GYN - Attn: Custodian of Medical Records

             on October 4, 2022; OR


       D     I returned the subpoena unexecuted because:


     Unless the subpoena was issued on behalf ofthe United States, or one of its officers or agents, I have also
     tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount
     of

     My fees are $ 0.00 for travel and $ 0.00 for services, for a total of$ 0.00.


     I declare under penalty of perjury that this information is true.



     Date: October 4, 2022                                               Isl Sarah I. Unatin
                                                                         Sarah J, Unatin, Attorney for Defendants Extended
                                                                         Stay America, Inc., ESA Management, LLC, ESA P
                                                                         Portfolio, LLC and ESA P Portfolio Operating Lessee,
                                                                         LLC
                                                                         Weinberg Wheeler Hudgins Gunn & Dial, LLP
                                                                         3344 Peachtree Road, Suite 2400
                                                                         Atlanta, Georgia 30326
       Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 100 of 111



AO 88B (Rey. 02/14) Subpoena to Produce Documents, Information, Objectsorto Permit Inspection
Premises in a Civil Action (Page
                             2)




                   Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(e) Place of Compliance.                                                      (ii) disclosing an unretained expert's opinion or
                                                                        in formation that does not describe speci fie occurrences in
  () For a Trial, Hearing, or Deposition. A subpoena may                dispute and results from the expert" s study that was not
command a person to attend a trial, hearing, or deposition only         requested by a party.
as follows:                                                                 (C) Specifying Conditions as an Alternative. In the
   (A) within I 00 miles of where the person resides, is                circumstances described in Rule 45(d)(3)(B), the court
employed, or regularly transacts business in person: or                 may, instead of quashing or modifying a subpoena, order
   (B) within the state where the person resides, is employed, or       appearance or production under specified conditions if the
regularly transacts business in person, if the person                   serving party:
      (i) is a party or a party's officer; or                                 (i) shows a substantial need for the testimony or material
      (ii) is commanded to attend a trial and would not incur           that cannot be otherwise met without undue hardship; and
substantial expense.                                                          (ii) ensures that the subpoenaed person will be reasonably
                                                                                   compensated.
  (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored                  (e) Duties in Responding to a Subpoena.
information, or tangible things at a place within I 00 miles of
where the person resides, is employed, or regularly transacts             (1) Producing Documents or Electronically Stored
business in person; and                                                 Information. These procedures apply to producing documents
   (B) inspection of premises at the premises to be inspected.          or electronically stored information:
                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.             documents must produce them as they are kept in the ordinary
                                                                        course of business or must organize and label them to correspond
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or           to the categories in the demand.
attorney responsible for issuing and serving a subpoena must take          (B) Formfor Producing Electronically Stored Information
reasonable steps to avoid imposing undue burden or expense on a         Not Specified. If a subpoena does not specify a form for
person subject to the subpoena. The court for the district where        producing electronically stored information, the person
compliance is required must enforce this duty and impose an             responding must produce it in a form or forms in which it is
appropriate sanction-which may include lost earnings and                ordinarily maintained or in a reasonably usable form or forms.
reasonable attorney's feeson a party or attorney who fails to              (C) Electronically Stored Information Produced in Only One
comply.                                                                 Form. The person responding need not produce the same
                                                                        electronically stored information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                   (D) Inaccessible Electronically Stored Information. The
    (A) Appearance Not Required. A person commanded to produce          person responding need not provide discovery of electronically
documents, electronically stored information, or tangible things, or    stored information from sources that the person identifies as not
to permit the inspection of premises, need not appear in person at      reasonably accessible because of undue burden or cost. On
the place of production or inspection unless also commanded to          motion to compel discovery or for a protective order, the person
appear for a deposition, hearing, or trial.                             responding must show that the information is not reasonably
    (B) Objections. A person commanded to produce documents or          accessible because of undue burden or cost. If that showing is
tangible things or to permit inspection may serve on the party or       made, the court may nonetheless order discovery from such
attorney designated in the subpoena a written objection to              sources if the requesting party shows good cause, considering
inspecting, copying, testing, or sampling any or all of the materials   the limitations of Rule 26b)2)C). The court may specify
or to inspecting the premisesor to producing electronically stored      conditions for the discovery.
information in the form or forms requested. The objection must be
served before the earlier of the time specified for compliance or 14    (2) Claiming Privilege or Protection.
days after the subpoena is served. If an objection is made, the           (A) Information Withheld. A person withholding subpoenaed
following rules apply:                                                  information under a claim that it is privileged or subject to
      (i) At any time, on notice to the commanded person, the           protection as trial-preparation material must:
serving party may move the court for the district where                      (i) expressly make the claim; and
compliance is required for an order compelling production or                 (ii) describe the nature of the withheld documents,
inspection.                                                             communications, or tangible things in a manner that, without
      (ii) These acts may be required only as directed in the order.    revealing information itself privileged or protected, will enable
and the order must protect a person who is neither a party nor a        the parties to assess the claim.
party's officer from significant expense resulting from compliance.       (B) Information Produced. If information produced in
                                                                        response to a subpoena is subject to a claim of privilege
 (3) Quashing or Modifying a Subpoena.                                  or of protection as
   (A) When Required. On timely motion, the court for the               trial-preparation material, the person making the claim may
district where compliance is required must quash or modify a            notify any party that received the information of the claim and
subpoena that:                                                          the basis for it. After being notified, a party must promptly
      (i) fails to allow a reasonable time to comply:                   return, sequester, or destroy the specified information and any
      (ii) requires a person to comply beyond the                       copies it has; must not use or disclose the information until the
geographical limits specified in Rule 45(c):                            claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected        information if the party disclosed it before being notified; and
matter, ifno exception or waiver applies; or                            may promptly present the information under seal to the court for
      Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 101 of 111



     (iv) subjects a person to undue burden.                            the district where compliance is required for a determination of
  (B) When Permitted. To protect a person subject to or affected        the claim. The person who produced the information must
by a subpoena, the court for the district where compliance is           preserve the information until the claim is resolved.
required may, on motion. quash or modify the subpoena if it
requires:                                                               (g) Contempt.
      (i) disclosing a trade secret or other confidential               The court for the district where compliance is required-and
research. development, or commercial information; or                    also, after a motion is transferred, the issuing court-may hold
                                                                        in contempt a person who, having been served, fails without
                                                                        adequate excuse to obey the subpoena or an order related to it.
                                                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a)
                                                                         Committee Note (2013).




                            For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                      EXHIBIT A


       NAME:                             JANE DOE 3
       DATE OF BIRTH:
       SOCIAL SECURITY NO.:

                                           1.

      CERTIFIED copies of each and every record, report, correspondence, office

note and/or writing of any kind and/or nature pertaining to or in any way connected

with your professional association with the patient named above including but not

limited to ambulance trip reports, laboratory reports, radiology reports and imaging

studies, billing records, nurses' notes, progress notes, results ofphysical examinations,

histories and physicals, triage notes, discharge summaries, operative reports,

diagnoses and prognoses rendered by you or various medical personnel treating and

examining JANE DOE 3.

                                           2.

      CERTIFIED copies of each and every bill, record ofpayment, invoice, or any

other record pertaining to the charges for your services and/or professional association

with JANE DOE 3.
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                           CERTIFIED DOCUMENTS


These records are to include a CERTIFIED copy ofyour entire file, including but not
limited to any and all documents whether typewritten, printed, recorded or
computerized, inclusive ofphotographs, video or digital records.

You must produce each and every piece of paper contained in your files, whether or
not prepared by you (i.e., letters or records sent to you from another source.) This
further includes correspondence, telephone messages, letters from attorneys, as well as
billing and insurance information on file. Leave nothing out for any reason.



                                 HIPAA NOTICE:

In accordance with the provisions of 45 CFR 164.512(e)(l)(ii), this Subpoena has
been issued pursuant to Rules 45(b)(l) and 5(b), Fed. R. Civ. P. The Party issuing this
Subpoena has provided written notice to the Patient listed above by sending her
attorney the attached Subpoena for which said Subpoena has been issued and included
sufficient information about the documents sought to permit the Plaintiff to raise an
objection to the Court or Administrative Tribunal.
Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 104 of 111




                       ATTACHMENT 13
                      Case 1:19-cv-03843-WMR Document 380 Filed 10/04/22 Page 105 of 111
AO 88B (Rey, 02/14) Subpoena to Produce Documents, Information, Objects or to Permit Inspection of Premises in a Civil Action
                                         UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION

        JANE DOE3,

             Plaintiffs,                                                                                 CIVIL ACTION FILE NO:
        V.
                                                                                                              1:19-CV-03843-WMR

        RED ROOF INNS, INC. et al.

             Defendants.

                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                              OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

        To:     Southeast Georgia Health System
                Attn: Custodian of Medical Records
                2415 Parkwood Drive
                Brunswick, GA 31520

         IRl Production: YOU ARE COMMA NDED to produce at the time, date, and place set forth below the following documents,
   electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the material:

        See Exhibit "A" attached hereto.


        Place: Michael Baum rind, Esq.                                                                   Date and Time:
               BONDURANT, MIXSON & ELMORE, LLP                                                           October 24, 2022; 9:00 a.m.
                1201 W. Peachtree St., N.W., Suite 3900
                Atlanta, GA 30309

          □ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other property
      possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect, measure, survey,
      photograph, test, or sample the property or any designated object or operation on it.

      IPlace:                                                                                           !Date and Time:


         The following provisions offed. R. Civ. P. 45 are attached-Rule 45(c), relating to the place of compliance; Rule 45(d), relating to
      your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond to this subpoena and the
      potential consequences of not doing so.

      Date:      October 4, 2022
                                               CLERK OF COURT
                                                                                                  OR
                                                                                                                  Isl Sarah J. Unatin
                                               Signature ofClerk or Deputy Clerk                                    Attorney's signature

      The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) Defendants, Extended Stay
      America, Inc., ESA Management, LLC and HVM, L.L.C., who issues or requests this subpoena, are: Sarah J. Unatin, Esq.,
      Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC, 3344 Peachtree Road, NE, Suite 2400, Atlanta, GA 30326, 404.876.2700,
      sunatin@wwhgd.com.
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                                 Notice to the person who issues or requests this subpoena

     If this subpoena commands the production of documents, electronically stored information, or tangible things or the inspection
of premises before trial, a notice and copy of the subpoena must be served on each party in this case before it is served on the
person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev, 02/I4) Subpoena to Produce Documents, Information, Objects or to Permit Inspection ofPremises in a Civil Action (Page 2)

      Civil Action No. 1: 19-CV-03843-WMR

                                               PROOF OF SERVICE
               (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

       I received this subpoena for                               _
       ()]

                (date)                                                   (name ofindividual and title, ifany)


             1 served the subpoena by CERTIFIED MAIL, RETURN RECEIPT to the named person as follows:
             Southeast Georgia Health System - Attn: Custodian of Medical Records

             on October 4, 2022; OR


       D     I returned the subpoena unexecuted because:


     Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
     tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount
     of $------

     My fees are $ 0.00 for travel and $ 0.00 for services, for a total of$ 0.00.


     I declare under penalty of perjury that this information is true.



     Date: October 4, 2022                                                Isl Sarah J. Unatin
                                                                          Sarah J, Unatin, Attorney for Defendants Extended
                                                                          Stay America, Inc., ESA Management, LLC, ESA P
                                                                          Portfolio, LLC and ESA P Portfolio Operating Lessee,
                                                                          LLC
                                                                          Weinberg Wheeler Hudgins Gunn & Dial, LLP
                                                                          3344 Peachtree Road, Suite 2400
                                                                          Atlanta, Georgia 30326
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AO 88B (Rey, O2/14) Subpoena to Produce Documents, Information, Objects orto Permit Inspection
Premises in a Civil Action Page
                            2)




                   Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(e) Place of Compliance.                                                      (ii) disclosing an unretained expert's opinion or
                                                                        information that does not describe specific occurrences in
  (I) For a Trial, Hearing, or Deposition. A subpoena may               dispute and results from the expert's study that was not
command a person to attend a trial, hearing, or deposition only         requested by a party.
as follows:                                                                (C) Specifying Conditions as an Alternative. In the
   (A) within I 00 miles of where the person resides, is                circumstances described in Rule 45(d)(3)B), the court
employed, or regularly transacts business in person; or                 may, instead of quashing or modifying a subpoena, order
   (B) within the state where the person resides, is employed, or       appearance or production under speci tied conditions if the
regularly transacts business in person, if the person                   serving party:
      (i) is a party or a party 's officer; or                                (i) shows a substantial need for the testimony or material
      (ii) is commanded to attend a trial and would not incur           that cannot be otherwise met without undue hardship; and
substantial expense.                                                          (ii) ensures that the subpoenaed person will be reasonably
                                                                                   compensated.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored                   (e) Duties in Responding to a Subpoena.
information, or tangible things at a place within I 00 miles of
where the person resides, is employed, or regularly transacts             (1) Producing Documents or Electronically Stored
business in person; and                                                 Information. These procedures apply to producing documents
   (B) inspection of premises at the premises to be inspected.          or electronically stored information:
                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.             documents must produce them as they are kept in the ordinary
                                                                        course of business or must organize and label them to correspond
  () Avoiding Undue Burden or Expense; Sanctions. A party or            to the categories in the demand.
attorney responsible for issuing and serving a subpoena must take          (B) Form for Producing Electronically Stored Information
reasonable steps to avoid imposing undue burden or expense on a         Nol Specified. If a subpoena does not specify a form for
person subject to the subpoena. The court for the district where        producing electronically stored information, the person
compliance is required must enforce this duty and impose an             responding must produce it in a form or forms in which it is
appropriate sanction-which may include lost earnings and                ordinarily maintained or in a reasonably usable form or forms.
reasonable attorney's fees---on a party or attorney who fails to           (C) Electronically Stored Information Produced in Only One
comply.                                                                 Form. The person responding need not produce the same
                                                                        electronically stored information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                   (D) Inaccessible Electronically Stored Information. The
    (A) Appearance Not Required. A person commanded to produce          person responding need not provide discovery of electronically
documents, electronically stored information, or tangible things, or    stored information from sources that the person identifies as not
to permit the inspection of premises, need not appear in person at      reasonably accessible because of undue burden or cost. On
the place of production or inspection unless also commanded to          motion to compel discovery or for a protective order, the person
appear for a deposition, hearing, or trial.                             responding must show that the information is not reasonably
    (B) Objections. A person commanded to produce documents or          accessible because of undue burden or cost. If that showing is
tangible things or to permit inspection may serve on the party or       made, the court may nonetheless order discovery from such
attorney designated in the subpoena a written objection to              sources if the requesting party shows good cause, considering
inspecting, copying, testing, or sampling any or all of the materials   the limitations of Rule 26(b)(2)(C). The court may specify
or to inspecting the premises---or to producing electronically stored   conditions for the discovery.
information in the form or forms requested. The objection must be
served before the earlier of the time specified for compliance or 14    (2) Claiming Privilege or Protection.
days after the subpoena is served. If an objection is made, the           (A) Information Withheld. A person withholding subpoenaed
following rules apply:                                                  information under a claim that it is privileged or subject to
      (i) At any time, on notice to the commanded person, the           protection as trial-preparation material must:
serving party may move the court for the district where                      (i) expressly make the claim; and
compliance is required for an order compelling production or                 (ii) describe the nature of the withheld documents,
inspection.                                                             communications, or tangible things in a manner that, without
      (ii) These acts may be required only as directed in the order,    revealing information itself privileged or protected, will enable
and the order must protect a person who is neither a party nor a        the parties to assess the claim.
party's officer from significant expense resulting from compliance.       (B) Informat ion Produced. If infonnation produced in
                                                                        response to a subpoena is subject to a claim of privilege
 (3) Quashing or Modifying a Subpoena.                                  or of protection as
   (A) When Required. On timely motion, the court for the               trial-preparation material, the person making the claim may
district where compliance is required must quash or modify a            notify any party that received the information of the claim and
subpoena that:                                                          the basis for it. After being notified, a party must promptly
      (i) fails to allow a reasonable time to comply:                   return, sequester, or destroy the specified information and any
      (ii) requires a person to comply beyond the                       copies it has; must not use or disclose the information until the
geographical limits specified in Rule 45(c):                            claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected        information if the party disclosed it before being notified; and
matter, ifno exception or waiver applies; or                            may promptly present the information under seal to the court for
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     (iv) subjects a person to undue burden.                           the district where compliance is required for a determination of
  (B) When Permitted. To protect a person subject to or affected       the claim. The person who produced the information must
by a subpoena, the court for the district where compliance is          preserve the information until the claim is resolved.
required may, on motion, quash or modify the subpoena ifit
requires:                                                              (g) Contempt.
      (i) disclosing a trade secret or other confidential              The court for the district where compliance is required-and
research, development, or commercial information; or                   also, after a motion is transferred, the issuing court-may hold
                                                                       in contempt a person who, having been served, fails without
                                                                       adequate excuse to obey the subpoena or an order related to it.
                                                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a)
                                                                        Committee Note (2013).




                            For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                      EXHIBIT A


       NAME:                             JANE DOE 3
       DATE OF BIRTH:
       SOCIAL SECURITY NO.:

                                           1.

       CERTIFIED copies of each and every record, report, correspondence, office

note and/or writing of any kind and/or nature pertaining to or in any way connected

with your professional association with the patient named above including but not

limited to ambulance trip reports, laboratory reports, radiology reports and imaging

studies, billing records, nurses' notes, progress notes, results ofphysical examinations,

histories and physicals, triage notes, discharge summaries, operative reports,

diagnoses and prognoses rendered by you or various medical personnel treating and

examining JANE DOE 3.

                                           2.

      CERTIFIED copies of each and every bill, record ofpayment, invoice, or any

other record pertaining to the charges for your services and/or professional association

with JANE DOE 3.
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                           CERTIFIED DOCUMENTS


These records are to include a CERTIFIED copy ofyour entire file, including but not
limited to any and all documents whether typewritten, printed, recorded or
computerized, inclusive ofphotographs, video or digital records.

You must produce each and every piece of paper contained in your files, whether or
not prepared by you (i.e., letters or records sent to you from another source.) This
further includes correspondence, telephone messages, letters from attorneys, as well as
billing and insurance information on file. Leave nothing out for any reason.



                                 HIPAA NOTICE:

In accordance with the provisions of 45 CFR 164.512(e)(l)(ii), this Subpoena has
been issued pursuant to Rules 45(b)(1) and 5(b), Fed. R. Civ. P. The Party issuing this
Subpoena has provided written notice to the Patient listed above by sending her
attorney the attached Subpoena for which said Subpoena has been issued and included
sufficient information about the documents sought to permit the Plaintiff to raise an
objection to the Court or Administrative Tribunal.
